USCA4 Appeal: 19-1152     Doc: 80       Filed: 08/19/2019   Pg: 1 of 81




                                           No. 19-1152


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


          FRIENDS OF BUCKINGHAM; CHESAPEAKE BAY FOUNDATION, INC.,
                                          Petitioners,
                                     v.

         STATE AIR POLLUTION CONTROL BOARD; RICHARD D. LANGFORD,
         Chair of the State Air Pollution Control Board; VIRGINIA DEPARTMENT OF
           ENVIRONMENTAL QUALITY; DAVID K. PAYLOR, Director, Virginia
                              Department of Environmental Quality,
                                                          Respondents,
                                                and

                              ATLANTIC COAST PIPELINE, LLC,
                                                  Intervenor.


          On Petition for Review of Approval and Issuance of Stationary Source Permit
        No. 21599 by the State Air Pollution Control Board and the Virginia Department of
                                     Environmental Quality


                                PETITIONERS’ REPLY BRIEF


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USCA4 Appeal: 19-1152   Doc: 80      Filed: 08/19/2019   Pg: 2 of 81




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USCA4 Appeal: 19-1152             Doc: 80               Filed: 08/19/2019              Pg: 3 of 81




                                                  TABLE OF CONTENTS

        TABLE OF AUTHORITIES ................................................................................... iii

        INTRODUCTION ..................................................................................................... 1

        SUMMARY OF ARGUMENT ................................................................................. 1

        STANDARD OF REVIEW ....................................................................................... 4

        ARGUMENT ............................................................................................................. 5

        I.       THE STATE AGENCIES’ DECISION NOT TO CONSIDER
                 ELECTRIC MOTORS AS ZERO-EMISSION ALTERNATIVES TO
                 GAS-FIRED TURBINES FINDS NO SUPPORT IN VIRGINIA
                 LAW ................................................................................................................ 5

                 A.       The “Redefining the Source” Doctrine Appears Nowhere in
                          Virginia Laws, Regulations, or Guidance ............................................. 6

                 B.       Far From Precluding Their Consideration, Virginia’s
                          Regulations Require Consideration of Available “Methods,
                          Systems and Techniques” to Control Pollution .................................... 8

                 C.       The Board’s Erroneous Interpretation of an Unambiguous
                          Regulation and Reliance on a Previously Unannounced
                          Doctrine Merit No Deference .............................................................. 13

                 D.       Even if Virginia Law Provided a Basis for the State Agencies’
                          Decision Not to Consider Electric Motors, Their Conclusion
                          That Using Electric Motors Would “Redefine the Source”
                          Lacked a Rational Explanation ........................................................... 14

                 E.       Atlantic’s Claim That the State Agencies Considered and
                          Rejected Electric Motors Is Contradicted by the Record and by
                          the State Agencies Themselves ........................................................... 16




                                                                      i
USCA4 Appeal: 19-1152             Doc: 80               Filed: 08/19/2019              Pg: 4 of 81




        II.      THE STATE AGENCIES VIOLATED VIRGINIA CODE SECTION
                 10.1-1307(E) BY FAILING TO CONSIDER THE COMPRESSOR
                 STATION’S DISPROPORTIONATE HEALTH IMPACTS ON THE
                 UNION HILL COMMUNITY AND THE SUITABILITY OF THE
                 SITE ............................................................................................................... 18

                 A.       The Court Should Rely on the Board’s Written Decision—and
                          the DEQ Documents the Board Incorporated Into That
                          Decision—to Review Compliance With Section 10.1-1307(E) ......... 18

                 B.       Respondents Ignore the Board’s Obligation to Resolve
                          Conflicting Information in the Record ................................................ 23

                 C.       Respondents Fail to Address the State Agencies’ Undue
                          Reliance on an Improper County Zoning Decision ............................ 27

        III.     THERE IS NO DISPUTE ABOUT THE BOARD’S ROLE AS
                 DECISION-MAKER FOR THIS PERMIT .................................................. 28

        CONCLUSION ....................................................................................................... 29




                                                                      ii
USCA4 Appeal: 19-1152           Doc: 80              Filed: 08/19/2019           Pg: 5 of 81




                                            TABLE OF AUTHORITIES

                                                                                                                  Page(s)

        Federal and State Cases
        AES Sparrows Point LNG v. Wilson,
          589 F.3d 721 (4th Cir. 2009) ................................................................................ 4

        Am. Trucking Ass’ns v. Fed. Highway Admin.,
          51 F.3d 405 (4th Cir. 1995) .................................................................................. 8

        Appalachian Voices v. State Air Pollution Control Bd.,
          693 S.E.2d 295 (Va. Ct. App. 2010) ..................................................................... 4

        Auer v. Robbins,
          519 U.S. 452 (1997) ............................................................................................ 13

        Avante at Roanoke v. Finnerty,
          692 S.E.2d 277 (Va. Ct. App. 2010) ................................................................... 13

        Brandon v. Nat’l Credit Union Ass’n,
           115 F. Supp. 3d 678 (E.D. Va. 2015) ................................................................. 11

        Cardsoft, LLC v. Verifone, Inc.,
          807 F.3d 1346 (Fed. Cir. 2015) .......................................................................... 28

        Carroll v. Town of Rockport,
          837 A.2d 148 (Me. 2003).................................................................................... 21

        Christensen v. Harris Cty.,
          529 U.S. 576 (2000) ............................................................................................ 13

        Cowpasture River Pres. Ass’n v. Forest Serv.,
          911 F.3d 150 (4th Cir. 2018) ........................................................................12, 17

        Del. Dep’t of Nat. Res. & Envtl. Control v. EPA,
          785 F.3d 1 (D.C. Cir. 2015) ................................................................................ 27

        Del. Riverkeeper Network v. Sec’y Pa. Dep’t of Envtl. Prot.,
          833 F.3d 360 (3d Cir. 2016) ................................................................................. 4

        Dominion Transmission, Inc. v. Summers,
          723 F.3d 238 (D.C. Cir. 2013) .............................................................................. 4

                                                                 iii
USCA4 Appeal: 19-1152           Doc: 80             Filed: 08/19/2019           Pg: 6 of 81




        Genuine Parts Co. v. EPA,
          890 F.3d 304 (D.C. Cir. 2018) ...................................................................... 24, 27

        GTE S., Inc. v. Morrison,
          199 F.3d 733 (4th Cir. 1999) ................................................................................ 5

        Helping Hand Tools v. EPA,
          848 F.3d 1185 (9th Cir. 2016) ...................................................................... 15, 16

        Islander E. Pipeline Co. v. Conn. Dep’t of Envtl. Prot.,
            482 F.3d 79 (2d Cir. 2006) ................................................................................... 4

        Kisor v. Wilkie,
           139 S. Ct. 2400 (2019) ..................................................................................13, 14

        Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
          Co., 463 U.S. 29 (1983) ..........................................................................19, 20, 23

        N.C. Wildlife Fed’n v. N.C. Dep’t of Transp.,
           677 F.3d 596 (4th Cir. 2012) ................................................................................ 8

        Portland Audubon Soc’y v. Endangered Species Comm.,
          984 F.2d 1534 (9th Cir. 1993) ............................................................................ 21

        Sierra Club v. EPA,
           499 F.3d 653 (7th Cir. 2007) .............................................................................. 14

        Sierra Club v. U.S. Dep’t of the Interior,
           899 F.3d 260 (4th Cir. 2018) ......................................................11, 15, 23, 24, 25

        United States v. Akzo Coatings of Am., Inc.,
          949 F.2d 1409 (6th Cir. 1991) ............................................................................ 11

        Wright v. Kan. State Bd. of Educ.,
          268 P.3d 1231 (Kan. Ct. App. 2012) .................................................................. 21

        Administrative Cases
        In re Prairie State Generating Co.,
            13 E.A.D. 1, 2006 WL 2847225 (EAB 2006), aff’d sub nom.
            Sierra Club v. EPA, 499 F.3d 653 (7th Cir. 2007) ...................................7, 15, 16




                                                                iv
USCA4 Appeal: 19-1152            Doc: 80              Filed: 08/19/2019            Pg: 7 of 81




        Statutes
        42 U.S.C. § 7475(a)(4) .........................................................................................7, 10

        42 U.S.C. § 7479(3) ................................................................................................... 6

        Va. Code § 2.2-4027 .................................................................................................. 5

        Va. Code § 10.1-1307(E)(4) ...................................................................................... 8

        Va. Code § 10.1-1322.01(P) .................................................................................... 21

        Regulations
        9 Va. Admin. Code § 5-10-20 .................................................................................. 28

        9 Va. Admin. Code § 5-50-250(C) ................................................................9, 10, 17

        9 Va. Admin. Code § 5-80-5(C) .............................................................................. 28

        9 Va. Admin. Code § 5-80-1110(C) .......................................................................... 9

        Other Authorities

        EPA, National Ambient Air Quality Standards for Particulate Matter,
          78 Fed. Reg. 3086 (Jan. 15, 2013) ...................................................................... 26

        Fed. R. App. P. 28(a)(8)(A) ..................................................................................... 28

        Fed. R. App. P. 28(b) ............................................................................................... 28




                                                                   v
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 8 of 81




                                        INTRODUCTION

              Petitioners Friends of Buckingham and Chesapeake Bay Foundation ask the

        Court to provide the people of Union Hill with the full protection of Virginia’s air

        pollution control laws. The Virginia Air Pollution Control Board’s (“Board’s”)

        decision to allow a compressor station for the Atlantic Coast Pipeline (“ACP”) in

        the historic, predominantly African-American Union Hill community fell short of

        those protections. On their behalf, Petitioners seek a best available control

        technology determination that meets the terms of Virginia’s regulations and

        evaluates the use of zero-emission electric motors to drive the compressors in place

        of polluting gas-fired turbines. Petitioners seek actual consideration of the

        demographic, health, and related site-suitability factors required under Virginia law

        rather than a decision that ignores those factors. Because Respondents have not

        adequately defended the legal flaws in the Board’s decision, the permit should be

        vacated and remanded to the Board.

                                    SUMMARY OF ARGUMENT

              The State Agency respondents (“State Agencies”) and intervenor Atlantic

        Coast Pipeline, LLC (“Atlantic”) (collectively, “Respondents”) devote much of

        their briefs to aspects of the permitting decision not challenged by Petitioners.

        Those uncontested issues should not distract from the questions at the heart of this

        case: First, do Virginia’s applicable best available control technology regulations



                                                  1
USCA4 Appeal: 19-1152     Doc: 80       Filed: 08/19/2019    Pg: 9 of 81




        require consideration of electric motors as an available zero-emission technology?

        Second, did the Board err by adopting the Virginia Department of Environmental

        Quality’s (“DEQ’s”) site-suitability conclusions in the Board’s decision, which

        predated the comment period on those Section 10.1-1307(E) factors? The Court

        should answer yes to both questions and remand the permit to the Board for further

        consideration.

              With regard to the first issue, Respondents’ briefs make clear where the

        parties agree. Under the cooperative-federalism structure of the Clean Air Act,

        Virginia is free to enact stricter requirements for its minor new source review

        program in its state implementation plan than otherwise required by federal law.

        Under its approved plan, Virginia requires a best available control technology

        (“BACT”) determination for facilities like the Buckingham compressor station

        (“Compressor Station”). It would be error to use the U.S. Environmental

        Protection Agency’s (“EPA’s”) “redefining the source” doctrine as part of the

        Buckingham Compressor Station BACT determination because EPA’s doctrine is

        specific to the Prevention of Significant Deterioration (“PSD”) program, which is

        not applicable here.

              The parties disagree, however, on how the Board handled its permit review.

        The State Agencies argue that they relied on a previously unknown Virginia-

        specific “redefining the source” doctrine—rather than the inapplicable EPA



                                                  2
USCA4 Appeal: 19-1152      Doc: 80       Filed: 08/19/2019    Pg: 10 of 81




        doctrine of the same name—in order to avoid consideration of zero-emission

        electric motors to power the compressors. The Court should reject this post hoc

        argument because there is no ambiguity in the applicable BACT regulation and no

        support for the existence of a Virginia-specific doctrine in the record or

        Respondents’ briefs. Absent the improper use of the EPA doctrine, the Board had

        no reason not to consider zero-emission electric compressors, which would

        eliminate much of the air pollution that otherwise threatens the people of Union

        Hill.

                With regard to the second issue, Respondents conflate what is in the

        administrative record with what the Board incorporated into its final decision. It is

        the decision of the Board, not comments received from the public or musings of

        individual Board members, that is before this Court. And with regard to the

        statutory site-suitability and health factors, that decision was based entirely on

        DEQ’s response to comments and engineering analysis. The only aspects of the

        Board’s decision that encompassed the statutory site-suitability and health factors

        did not in any way consider the demographics or disproportionate health issues

        raised during the December comment period. Instead, the Board adopted DEQ’s

        conclusions that were finalized before the November 2018 Board meeting and

        before the Board extended the permitting process to accept public input on those

        critical Section 10.1-1307(E) factors. The Board’s decision thus failed to address



                                                   3
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 11 of 81




        and resolve the conflicting information about demographics and disproportionate

        health impacts submitted during the second comment period.

                                    STANDARD OF REVIEW

              Atlantic urges the Court to diverge from the consistent practice of this and

        other courts of appeals and apply a standard of review from Virginia law rather

        than the arbitrary and capricious standard of the federal Administrative Procedure

        Act (“APA”). Atlantic Br. 27-29. But as the State Agencies acknowledge, this

        Court has applied the APA standard under nearly identical circumstances: review

        of state agency actions taken pursuant to federal law for facilities regulated under

        the Natural Gas Act. See State Br. 36 (citing cases); see also AES Sparrows Point

        LNG v. Wilson, 589 F.3d 721, 727 (4th Cir. 2009). So, too, have other circuits.

        See Del. Riverkeeper Network v. Sec’y Pa. Dep’t of Envtl. Prot., 833 F.3d 360, 377

        (3d Cir. 2016); Dominion Transmission, Inc. v. Summers, 723 F.3d 238, 243 (D.C.

        Cir. 2013); Islander E. Pipeline Co. v. Conn. Dep’t of Envtl. Prot., 482 F.3d 79,

        94-95 (2d Cir. 2006). Atlantic identifies nothing unique about this case that

        warrants departing from the courts’ consistent practice.

              In any event, the issue is of little import. Even under the Virginia

        Administrative Process Act, “[q]uestions of law are reviewed de novo.”

        Appalachian Voices v. State Air Pollution Control Bd., 693 S.E.2d 295, 298 (Va.

        Ct. App. 2010). Factual findings are reviewed under the “substantial evidence”



                                                  4
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019   Pg: 12 of 81




        standard, Va. Code § 2.2-4027, which is not meaningfully different from the

        arbitrary and capricious standard with respect to fact finding. GTE S., Inc. v.

        Morrison, 199 F.3d 733, 745 n.5 (4th Cir. 1999).

                                           ARGUMENT

        I.    THE STATE AGENCIES’ DECISION NOT TO CONSIDER
              ELECTRIC MOTORS AS ZERO-EMISSION ALTERNATIVES TO
              GAS-FIRED TURBINES FINDS NO SUPPORT IN VIRGINIA LAW.

              The Board was presented with a zero-emission alternative to power the

        Compressor Station’s compressors, but summarily rejected it as “redefining the

        source”—invoking an EPA doctrine all parties agree is inapplicable to the Board’s

        BACT determination for this permit. Now, Respondents’ chief argument in

        defense of the Board’s failure to consider electric compressors is that the Board

        relied on Virginia’s previously unknown “redefining the source” doctrine, which

        is purportedly distinct from EPA’s doctrine of the same name. State Br. 39-43;

        Atlantic Br. 35-36.

              This argument suffers from two fundamental flaws. First, Respondents offer

        no evidence of the prior existence of a Virginia-specific redefining the source

        doctrine, let alone one with the same name as the inapplicable EPA doctrine.

        Respondents’ argument is merely an attempt to justify the State Agencies’

        erroneous application of EPA’s redefining the source doctrine with a post hoc

        rationalization. Second, even if this Court were to find that a Virginia-specific



                                                  5
USCA4 Appeal: 19-1152      Doc: 80        Filed: 08/19/2019     Pg: 13 of 81




        redefining the source doctrine existed, the State Agencies failed to undertake any

        analysis to determine whether using electric motors would constitute redefining the

        source.

              A.     The “Redefining the Source” Doctrine Appears Nowhere in
                     Virginia Laws, Regulations, or Guidance.

              There is no evidence that Virginia has developed a minor source specific

        “redefining the source” doctrine that is unrelated to or independent of EPA’s

        doctrine of the same name. The State Agencies claim that they used a BACT

        analysis for the Compressor Station that is a “similar but slightly modified version”

        of EPA’s BACT approach, State Br. 19 (citing JA02217-30), but at no point did

        DEQ describe how it “modified” EPA’s approach to the redefining the source

        doctrine. Indeed, the State Agencies point to no law, regulation, guidance, or case

        referring to such a Virginia-specific doctrine. This absence is critical. Without

        any prior articulation of this doctrine, it is difficult to accept the State Agencies’

        arguments—joined by Atlantic—that an independent Virginia doctrine drove this

        decision, rather than an improper application of the EPA doctrine. See State Br.

        39-43; Atlantic Br. 36-37.

               EPA developed the redefining the source doctrine in the PSD program to

        solve a specific statutory ambiguity found in the Clean Air Act: the tension

        between the broad requirements of “best available control technology,” 42 U.S.C.

        § 7479(3), and the directive to apply that BACT determination to the applicant’s

                                                    6
USCA4 Appeal: 19-1152     Doc: 80       Filed: 08/19/2019    Pg: 14 of 81




        “proposed facility,” 42 U.S.C. § 7475(a)(4). In re Prairie State Generating Co.,

        13 E.A.D. 1, 2006 WL 2847225, at *16 (EAB 2006) (noting that EPA’s redefining

        the source doctrine was developed to harmonize the competing obligations in the

        PSD statute), aff’d sub nom. Sierra Club v. EPA, 499 F.3d 653 (7th Cir. 2007).

        Respondents have identified no equivalent ambiguity or conflict in the Virginia

        regulations that would require the adoption of a similar doctrine here.

              The language used by DEQ during the administrative process—language

        adopted by the Board—makes clear that the agency was improperly applying

        EPA’s doctrine. DEQ described “redefining the source” in a manner consistent

        with the inapplicable EPA doctrine for PSD permits, with a focus on deferring to

        the applicant’s proposed facility. See Nov. 9, 2018 Hearing Transcript 36:22-37:3

        (JA02237-38) (“Businesses have to be able to determine the activity that they’re

        doing and how they’re going to do it.”). The Board adopted DEQ’s decision to

        defer to the emissions units “proposed by the source.” Decision Statement ¶ 2

        (JA02999) (adopting response to comments); Response to Comments 33

        (JA02178). And in practice, Atlantic followed the top-down BACT analysis used

        in PSD permitting, including a citation to EPA’s 1990 NSR Guidance, which also

        contains EPA’s description of the redefining the source doctrine. Final Permit

        Application (JA00998).




                                                  7
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019   Pg: 15 of 81




              Given the absence of any record evidence supporting the prior existence of a

        Virginia-specific doctrine, the State Agencies’ argument, joined by Atlantic,

        appears instead to be a convenient litigation position—not the actual position taken

        by the Board below. Courts judge agency action solely on the grounds invoked by

        the agency at the time of agency action, not on post hoc rationalizations in

        litigation. N.C. Wildlife Fed’n v. N.C. Dep’t of Transp., 677 F.3d 596, 604 (4th

        Cir. 2012). This Court should look skeptically at the State Agencies’ claim that the

        Board relied on a previously unarticulated Virginia-specific doctrine sharing the

        same name as an EPA doctrine that all parties agree is not applicable to the permit.

        See, e.g., Am. Trucking Ass’ns v. Fed. Highway Admin., 51 F.3d 405, 410 (4th Cir.

        1995) (holding that agencies’ claimed statutory interpretation advanced on appeal

        played no part in their decision-making process below). Without the inappropriate

        use of EPA’s doctrine, the Board offered no reason for declining to consider zero-

        emission electric compressors in its BACT determination.

              B.     Far From Precluding Their Consideration, Virginia’s Regulations
                     Require Consideration of Available “Methods, Systems and
                     Techniques” to Control Pollution.

              The plain-language requirements governing BACT determinations are clear:

        the Board must consider “scientific and economic practicality of reducing or

        eliminating” on-site air pollution. Va. Code § 10.1-1307(E)(4). And in reviewing

        an application for a new stationary source permit, the State Agencies are required



                                                  8
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 16 of 81




        to consider “the maximum degree of emission reduction for any pollutant” that

        they determine “is achievable … through the application of production processes

        or available methods, systems and techniques … for control of such pollutant.”

        9 Va. Admin. Code § 5-50-250(C). Absent the redefining the source doctrine,

        DEQ—in a decision adopted by the Board—offered no other legal basis for

        declining to consider electric motors as an “available method” for control of

        pollution from the Compressor Station’s compressors. Response to Comments 33

        (JA02178).

              The State Agencies are wrong to argue that Virginia’s minor source

        regulations “compelled” the conclusion that they did not have to consider electric

        motors. State Br. 38. The State Agencies’ argument turns on their narrow

        characterization of the relevant “emissions unit” as “[t]he natural gas turbines

        proposed by Atlantic.” Id. at 40. Virginia regulations define “emissions unit” as

        “any part of a stationary source which emits or would have the potential to emit

        any regulated air pollutant.” 9 Va. Admin. Code § 5-80-1110(C). But without

        citing any authority, the State Agencies categorize the “emissions units” as natural

        gas turbines, rather than compressors. See State Br. 40; JA02178. Through this

        sleight of hand, the State Agencies can argue that “electric turbines are not

        ‘processes,’ ‘methods,’ or ‘techniques’ that can be applied to natural gas turbines

        to control pollutants” and thus are not subject to their review. State Br. 40. But



                                                  9
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 17 of 81




        electric turbines are “methods, systems [or] techniques” that can be applied to

        compressors to control pollutants—and such available methods, systems, or

        techniques must be considered. 9 Va. Admin. Code § 5-50-250(C). By arbitrarily

        restricting their analysis without explanation, the State Agencies would eviscerate

        Virginia’s BACT requirement.

              Even if the relevant “emissions units” were properly defined as the natural

        gas turbines—which they are not—the State Agencies offered no basis for further

        limiting their analysis to “[t]he natural gas turbines proposed by Atlantic.” State

        Br. 40. As discussed above, the focus on an applicant’s “proposed facility” under

        the federal PSD law, see 42 U.S.C. § 7475(a)(4), has no analogue in Virginia’s

        regulations. Instead, the requirements of a BACT determination under Virginia

        law are broad and unambiguous: The Board must consider emissions reductions

        “based on the maximum degree of emission reduction for any pollutant which

        would be emitted from a new stationary source or project.” 9 Va. Admin. Code

        § 5-50-250(C).

              Given the availability of electric compressors as a zero-emission technology,

        it is unsurprising that Atlantic and its lead partner, Dominion Energy, have

        considered or used electric motors at other compressor stations. Pets. Br. 36-37.

        This uncontested fact is properly before the Court, contrary to Atlantic’s

        contention (not joined by the State Agencies). See Atlantic Br. 38. A reviewing



                                                 10
USCA4 Appeal: 19-1152      Doc: 80       Filed: 08/19/2019    Pg: 18 of 81




        court evaluating agency action on the administrative record “may consider

        additional evidence as either background information to aid the court’s

        understanding, or to determine if the agency examined all relevant factors or

        adequately explained its decision.” United States v. Akzo Coatings of Am., Inc.,

        949 F.2d 1409, 1428 (6th Cir. 1991); accord Brandon v. Nat’l Credit Union Ass’n,

        115 F. Supp. 3d 678, 684 (E.D. Va. 2015). Petitioners’ citations to publicly

        available government sources are intended to help the Court determine whether the

        State Agencies examined all relevant factors in making its BACT determination.

        For example, DEQ maintained that it compared “the relative level of control with

        other similar Virginia sources” (JA02989), yet it ignored the electric-motor-driven

        compressor at Dominion Energy’s compressor station in Loudon County, Virginia.

        And Atlantic itself recognized that it could use electric motors in its permit

        application for the ACP’s Mockingbird Hill compressor station, which DEQ

        expressly considered. These documents highlight that the Board failed to examine

        all relevant factors.1




        1
         The Court may also take judicial notice of Atlantic’s Mockingbird Hill permit
        application, publicly available through the Federal Energy Regulatory
        Commission’s (“FERC’s”) electronic library, where the fact that Atlantic
        submitted the application is not disputed. See Sierra Club v. U.S. Dep’t of the
        Interior, 899 F.3d 260, 276 n.4 (4th Cir. 2018) (taking judicial notice of record
        publicly available on federal agency website).


                                                  11
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019   Pg: 19 of 81




              The State Agencies’ appeal to a separate provision directing the Board to

        consider “emission control efficiencies achieved in the industry for the source

        type” is not well-taken, as it directly conflicts with the position taken by DEQ

        during its review. See State Br. 42 (quoting 9 Va. Admin. Code § 5-50-250)

        (emphasis added by State Agencies). In their brief, the State Agencies claim that

        “electric power compression and natural gas compression are entirely different

        ‘source types.’” State Br. 42. But during the permitting process, DEQ was clear

        that the relevant “source type” for its BACT analysis was a compressor station—

        not a particular type of compression. Response to Comments 32-33 (JA02177-78).

              Finally, requiring consideration of electric motors as part of the BACT

        determination would not turn permitting “on its head.” State Br. 43-44. The State

        Agencies had an independent obligation to review the air permit for the

        Compressor Station and statutory standards distinct from those applied by FERC or

        the Buckingham County Board of Supervisors. The State Agencies cannot be

        excused from their legal obligations based on the assumption that performing those

        obligations may require restarting other regulatory processes. In any event, the

        State Agencies’ claim is unfounded; nothing in the record suggests that the Board’s

        consideration of electric motors would have had any impact on FERC’s completed

        environmental review for the ACP or Buckingham County’s special use permit for

        the Compressor Station. See, e.g., Cowpasture River Pres. Ass’n v. Forest Serv.,



                                                 12
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 20 of 81




        911 F.3d 150 (4th Cir. 2018) (requiring Forest Service to consider alternatives

        other than the preferred route considered and adopted by FERC in its

        Environmental Impact Statement).

              C.     The Board’s Erroneous Interpretation of an Unambiguous
                     Regulation and Reliance on a Previously Unannounced Doctrine
                     Merit No Deference.

              The Court need not take up the State Agencies’ arguments regarding agency

        deference. See State Br. 49-51. Deference under Auer v. Robbins, 519 U.S. 452

        (1997), to an agency’s interpretation of its own regulation “can arise only if a

        regulation is genuinely ambiguous.” Kisor v. Wilkie, 139 S. Ct. 2400, 2414 (2019);

        Christensen v. Harris Cty., 529 U.S. 576, 588 (2000). If “there is only one

        reasonable construction of a regulation[,] then a court has no business deferring to

        any other reading, no matter how much the agency insists it would make more

        sense.” Kisor, 139 S. Ct. at 2415.

              No party argues that the underlying regulations are ambiguous. As

        explained in Section I.B, above, they are not. Where no ambiguity exists, “[t]o

        defer to the agency’s position would be to permit the agency, under the guise of

        interpreting a regulation, to create de facto a new regulation.” Christensen, 529

        U.S. at 588; see also Avante at Roanoke v. Finnerty, 692 S.E.2d 277, 282-83 (Va.

        Ct. App. 2010) (quoting Christensen and citing cases under Virginia law).




                                                 13
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 21 of 81




              Even if the regulation were ambiguous, no deference would be warranted. A

        “court should decline to defer to a merely ‘convenient litigation position’ or ‘post

        hoc rationalizatio[n] advanced’ to ‘defend past agency action against attack.’”

        Kisor, 139 S. Ct. at 2417. Neither DEQ nor the Board has previously made public

        an interpretation that a rule against “redefining the source” is an element of its

        minor source BACT determination. A central rationale for deferring to an

        agency’s reasonable interpretation is “Congress’s frequent ‘preference for

        resolving interpretive issues by uniform administrative decision, rather than

        piecemeal by litigation.’” Id. at 2413. There is no evidence that the State Agencies’

        use of the redefining the source doctrine is part of a uniform agency decision;

        rather, it is the very kind of piecemeal approach that Congress and the courts have

        sought to avoid. The deference rule was not designed for post hoc interpretations

        like the State Agencies’ position here. See id. at 2413-14.

               D.    Even if Virginia Law Provided a Basis for the State Agencies’
                     Decision Not to Consider Electric Motors, Their Conclusion That
                     Using Electric Motors Would “Redefine the Source” Lacked a
                     Rational Explanation.

              The reason EPA adopted a redefining the source doctrine is to provide

        guidance to the agency (or state-level permit drafters implementing delegated PSD

        programs) on how to consider available pollution control technologies without

        altering the purpose of the applicant’s “proposed” facility. See, e.g., Sierra Club,

        499 F.3d at 655. Absent agency guidance on a supposed Virginia-specific

                                                  14
USCA4 Appeal: 19-1152     Doc: 80         Filed: 08/19/2019     Pg: 22 of 81




        redefining the source doctrine, it would be difficult—if not impossible—for any

        reviewing court to evaluate the Board’s decision. That problem is compounded

        here because the Board rested its decision on DEQ’s response to comments, which

        provided no analysis of whether the use of electric motors would in fact “redefine

        the source.” Agencies cannot simply invoke the phrase “redefining the source” to

        avoid consideration of available “methods, systems and techniques” for pollution

        control. A rational explanation must be given. Sierra Club v. U.S. Dep't of the

        Interior, 899 F.3d 260, 294 (4th Cir. 2018) (reversing agency permit decision

        because agency failed to draw a “‘rational connection between the facts found and

        the choice made’ and has ignored important aspects of the problem”) (quoting

        Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

        29, 43 (1983)).

              Respondents misunderstand the relevance of the illustrative redefining the

        source opinions cited in Petitioners’ opening brief. See Pets. Br. 34-35 (citing

        Helping Hand Tools v. U.S. EPA, 848 F.3d 1185 (9th Cir. 2016) and In re Prairie

        State Generating Co., 2006 WL 2847225). What is instructive about the Helping

        Hand and Prairie State decisions is that the applicant’s proposed facility in each

        instance was designed to take advantage of a locally sourced fuel; the fuel source

        was intrinsically linked to the purpose for building the facility in the first place;

        and thus the potential use of an alternative fuel source would disrupt the



                                                   15
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 23 of 81




        applicant’s business purpose. See Helping Hand, 848 F.3d at 1198; In re Prairie

        State, 2006 WL 2847225, at *19. There is nothing in the record here indicating

        that the use of gas-fired turbines, as opposed to electric motors, to power the

        compressors is an aspect of Atlantic’s business purpose for the Compressor

        Station.

              These cases are instructive for another reason. They demonstrate the

        thoughtful analysis required before an agency or reviewing court can reasonably

        conclude that an available control technology need not be considered in a BACT

        determination because it would “redefine the source.” Such considered analysis is

        wholly lacking in the DEQ record adopted by the Board in reaching its decision.

        See Response to Comments 33 (JA02178).

              E.     Atlantic’s Claim That the State Agencies Considered and
                     Rejected Electric Motors Is Contradicted by the Record and by
                     the State Agencies Themselves.

              Notwithstanding the State Agencies’ insistence that they properly declined

        to consider electric motors, Atlantic suggests that DEQ evaluated and “properly

        rejected” electric motors. Atlantic Br. 31-34. Atlantic’s argument is contradicted

        by the record and, unsurprisingly, not taken up by the State Agencies.

              Throughout the permitting process, DEQ consistently said that it did not

        consider electric motors at all. Corbett Email (JA01381); Response to Comments

        33 (JA02178); Nov. 9, 2018 Hearing Transcript 36:22-25, 37:4-17 (JA02237-38).



                                                 16
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019   Pg: 24 of 81




        The Board adopted DEQ’s decision not to consider electric motors. Decision

        Statement ¶ 2 (JA02999). Disregarding this decision, Atlantic points to a single

        footnote in DEQ’s response to comments as support for its claim that electric

        motors were fully considered and rejected by DEQ. Response to Comments 33

        n.17 (JA02178). This one-sided, conclusory footnote, presented without any

        evidentiary support in the record, does not constitute a reasoned analysis of

        whether switching to electric motors would constitute redefining the source and is

        not an evaluation of electric motors as a viable pollution control technology for the

        Compressor Station. Aside from this footnote, Atlantic points only to FERC’s

        review of electric motors as a potential alternative in its Environmental Impact

        Statement, as if FERC’s review were itself part of DEQ’s BACT analysis. Atlantic

        Br. 33. It was not.2

              Further evidence that DEQ did not consider electric motors is the noticeable

        absence from the record of any comparison of the cost difference between

        deploying electric motors and gas turbines with control technology—a comparison

        that is required under Virginia law. See 9 Va. Admin. Code § 5-50-250(C) (BACT

        includes consideration of “cost effectiveness of the incremental emissions

        2
          FERC’s Environmental Impact Statement has no bearing on the Board’s
        independent obligations under Virginia’s approved Clean Air Act state
        implementation plan. See, e.g., Cowpasture River Pres. Ass’n, 911 F.3d at 170-71
        (4th Cir. 2018) (holding that Forest Service had obligation to independently review
        issues and not rely on FERC’s environmental review).


                                                 17
USCA4 Appeal: 19-1152    Doc: 80        Filed: 08/19/2019    Pg: 25 of 81




        reduction achieved between control alternatives”); Response to Comments 32-33

        (JA02177-78) (analyzing cost effectiveness of other pollution control

        technologies). The Board adopted DEQ’s decision not to consider electric motors.

        The Court should reject Atlantic’s suggestion to the contrary.

        II.   THE STATE AGENCIES VIOLATED VIRGINIA CODE SECTION
              10.1-1307(E) BY FAILING TO CONSIDER THE COMPRESSOR
              STATION’S DISPROPORTIONATE HEALTH IMPACTS ON THE
              UNION HILL COMMUNITY AND THE SUITABILITY OF THE
              SITE.

              A.     The Court Should Rely on the Board’s Written Decision—and the
                     DEQ Documents the Board Incorporated Into That Decision—to
                     Determine Compliance With Section 10.1-1307(E).

              Petitioners assert that the Board did not consider the Compressor Station’s

        adverse health effects on the historic African-American community of Union Hill

        as required by Va. Code § 10.1-1307(E). Pets. Br. 38-40. Respondents argue that

        the Board did. State Br. 51-55; Atlantic Br. 42-47. To support their argument,

        they point to material in the record, the Board’s December comment period, and

        the individual comments of some Board members. State Br. 53; Atlantic Br.

        43-47. But what the Board actually offered in its written decision statement and

        supporting documents as the rationale for its actions adopted DEQ’s factual

        findings and conclusions, including DEQ’s finding that demographic and health

        conditions for Union Hill are not relevant under Section 10.1-1307(E). See Pets.

        Br. 41-42; Decision Statement ¶ 2 (JA02999). By failing to address these



                                                18
USCA4 Appeal: 19-1152     Doc: 80       Filed: 08/19/2019    Pg: 26 of 81




        important factors, the Board’s approval of the Compressor Station permit was

        arbitrary and capricious.

              Under well-established rules of administrative law, the Board’s articulation

        of the reasons for its action—including the documents it incorporated by specific

        reference in that decision—are the proper focus of the Court’s review. In

        reviewing a challenged agency action, a court must focus on “the basis articulated

        by the agency itself.” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 50. For its part, an

        “agency must examine the relevant data and articulate a satisfactory explanation

        for its action including a ‘rational connection between the facts found and the

        choice made.’” Id. at 43 (quoting Burlington Truck Lines, Inc. v. United

        States, 371 U.S. 156, 168 (1962)). The reviewing court does not correct

        “deficiencies” in the agency’s analysis and “supply a reasoned basis for the

        agency’s action that the agency itself has not given.’” Motor Vehicle Mfrs. Ass’n,

        463 U.S. at 43 (quoting SEC v. Chenery Corp., 332 U.S. 194, 196 (1947)).

              Here, the Board’s decision statement and its supporting documents neither

        offer any consideration of demographic or health conditions in Union Hill nor

        present a rational connection between these factors and the final decision.

        Respondents agree with Petitioners that these are important, central factors under

        Section 10.1-1307(E). See State Br. 52-53; Atlantic Br. 41. While the record

        contains numerous relevant comments (JA01396-539), the Board’s final written



                                                 19
USCA4 Appeal: 19-1152     Doc: 80         Filed: 08/19/2019    Pg: 27 of 81




        decision incorporated DEQ documents that are silent about these factors.

        Response to Comments 31-32 (JA02176-77); Final Permit Analysis 13 (JA02993).

        As a result, the Board’s decision is not consistent with the record and must be

        vacated. See Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43 (agency action is arbitrary

        and capricious if the agency “offered an explanation for its decision that runs

        counter to the evidence before the agency.”).

              The Board’s rationale for its final decision is found in four DEQ documents

        incorporated at paragraph two of the decision statement. Decision Statement ¶ 2

        (JA02999). Only two of those documents, DEQ’s response to comments and its

        final permit analysis, mention the Section 10.1-1307(E) factors. Response to

        Comments 31-32 (JA02176-77); Final Permit Analysis 13 (JA02993).

              The first document was prepared in October 2018—prior to the Board’s

        request for additional information about Union Hill—and DEQ took the position

        that environmental justice was not part of site suitability. Response to Comments

        31-32 (JA02176-77). The second document states that three issues—the special

        use permit issued by Buckingham County, DEQ’s October 2017 site evaluation,

        and projected compliance with EPA’s National Ambient Air Quality Standards

        (“NAAQS”)—are the only issues relevant to site suitability. Final Permit Analysis

        13 (JA02993). In other words, the State Agencies’ claim that the “Board

        specifically rejected DEQ’s initial site suitability analysis,” State Br. 55, is wrong.



                                                  20
USCA4 Appeal: 19-1152     Doc: 80       Filed: 08/19/2019    Pg: 28 of 81




        The decision statement reveals that the Board specifically adopted DEQ’s factual

        findings about site suitability, which excluded demographic and health conditions

        in Union Hill. See Va. Code § 10.1-1322.01(P) (requiring explanation when

        Board’s decision varies from DEQ’s recommendation).

              The State Agencies’ attempt to use the individual statements of members to

        explain the Board’s decision is unavailing. See id. at 53. The public musings of

        Board members prior to the final vote are not the Board’s findings, do not

        represent the collective judgment of the Board, and should not form the basis for

        the Court’s review of the Board’s final decision. See, e.g., Carroll v. Town of

        Rockport, 837 A.2d 148, 157 (Me. 2003) (recognizing that “individual statements

        did not represent any collective judgment of the fact-finding agency”); Wright v.

        Kan. State Bd. of Educ., 268 P.3d 1231, 1242 (Kan. Ct. App. 2012) (disregarding

        state education board members’ individual statements in favor of “their reasoning

        [] contained in the written findings and conclusions of the Board”); cf. Portland

        Audubon Soc’y v. Endangered Species Comm., 984 F.2d 1534, 1549 (9th Cir.

        1993) (noting that “the mental processes of individual agency members” are not

        proper components of the administrative record).

              Respondents also place unfounded importance on the Board’s statement that

        it “d[id] not adopt any legal views expressed by [DEQ] regarding the Board’s

        authority under Va. Code Section 10.1-1307(E).” State Br. 55 (emphasis added);



                                                 21
USCA4 Appeal: 19-1152     Doc: 80       Filed: 08/19/2019    Pg: 29 of 81




        see also Atlantic Br. 47. But the Board here was addressing the legal view that

        DEQ announced earlier in the permitting process: namely, that the Board could

        not consider issues that are also subject to local zoning control. Nov. 9, 2018

        Hearing Transcript 50:22-56:22 (JA02251-57). Regardless of the disagreement

        about the Board’s authority, the decision statement did not disclaim any of DEQ’s

        factual findings or conclusions—including those about site suitability. See

        Decision Statement (JA02999).

              The entire purpose of the decision statement is to provide the Board’s

        explanation and rationale for its final decision. Respondents now seek to seize on

        the record of public comments or the remarks of individual Board members and

        refashion them into the Board’s collective judgment. To be sure, the Board

        received abundant information about the demographic and health conditions of the

        Union Hill community. See Pets. Br. 18-19. But the public is left to guess what

        the Board’s final conclusions were on those factors, a hallmark of arbitrary and

        capricious agency action.

              Specifically, the decision statement’s supporting documents do not reveal

        whether the Board determined if Union Hill was a minority community based on

        race. See Response to Comments 31-32 (JA02176-77); Final Permit Analysis 13

        (JA02993). That determination is critically important to understand whether the

        emissions from the Compressor Station will pose an adverse health risk to



                                                 22
USCA4 Appeal: 19-1152      Doc: 80       Filed: 08/19/2019    Pg: 30 of 81




        community residents. See FEIS 4-513 to 4-514 (JA02372-73) (discussing

        increased health risks to African Americans from air pollution). The supporting

        documents also do not indicate whether the Board considered the health conditions

        of the community or that fine particle pollution (“PM2.5”) and formaldehyde

        emissions from the Compressor Station could exacerbate health conditions even if

        the facility complies with NAAQS. Further, they are silent on whether the Board

        determined if health impacts on Union Hill residents would be the same as, or

        different than, impacts suffered by others (i.e., disproportionate).

              The Court should not accept Respondents’ invitation to correct

        “deficiencies” in the Board’s explanation of its final decision or “supply a reasoned

        basis for the agency’s action that the agency itself has not given.” Motor Vehicle

        Mfrs. Ass’n, 463 U.S. at 43. All parties agree that the demographics and health

        conditions of Union Hill are central and important issues in this permitting process.

        They are the subject of hundreds of public comments, and the Board was required

        to address them.

              B.     Respondents Ignore the Board’s Obligation to Resolve Conflicting
                     Information in the Record.

              Respondents fatally ignore the Board’s obligation to “grapple with contrary

        evidence.” Sierra Club, 899 F.3d at 293 (quoting Fred Meyer Stores, Inc. v.

        NLRB, 865 F.3d 630, 638 (D.C. Cir. 2017)). “[A]n agency cannot ignore evidence

        that undercuts its judgment[] and it may not minimize such evidence without

                                                  23
USCA4 Appeal: 19-1152     Doc: 80       Filed: 08/19/2019    Pg: 31 of 81




        adequate explanation.” Genuine Parts Co. v. EPA, 890 F.3d 304, 312 (D.C. Cir.

        2018). Respondents dispute two claims raised by Petitioners: (1) that the Board

        failed to make findings about the demographics and health characteristics of Union

        Hill, Pets. Br. 51-54; and (2) that the Board wrongly relied on compliance with

        NAAQS to find no disproportionate impact, id. at 43-50. But for both categories

        of information, Respondents fail to recognize that the Board must address and

        resolve important conflicting evidence in the record in its decision statement and

        supporting documents. Because the Board failed to do so, its approval of the

        Compressor Station permit is arbitrary and capricious. See Sierra Club, 899 F.3d

        at 293.

              The Board did not grapple with conflicting information about the

        demographics and health characteristics of the Union Hill community. For

        example, just four days before the Board’s final decision, Atlantic wrote to the

        Board that “[t]he record, including demographic analysis, [] shows [] no

        environmental justice community” in Union Hill. Jan. 2019 Atlantic Comments 1

        (JA02849). In contrast, Friends of Buckingham’s door-to-door household study

        described an 84% minority community within one-mile of the proposed

        Compressor Station, a percentage much higher than the surrounding county

        (34.7%). Jan. 2019 Household Study Summary (JA02733). The study also

        revealed that the community has deep historic ties to Freedmen and Freedwomen



                                                 24
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019    Pg: 32 of 81




        who settled in Union Hill after the Civil War; 42 households in Union Hill are

        known descendants of formerly enslaved people from area plantations. Id.

              The State Agencies unconvincingly attempt to rely on the individual

        statements of Board Members as addressing and resolving this conflicting

        information. See State Br. 53. As an initial matter, the Court should not rely on

        the statements of individual Board Members as indicative of the Board’s findings

        and collective decision. Regardless, a review of the statements themselves reveals

        that these members did not address and resolve the information. For example,

        Richard Langford and Ignacia Moreno stated that they assumed Union Hill was an

        “environmental justice” community but did not explain whether they assumed a

        minority population, a low-income population, or both. Jan. 8, 2019 Hearing

        Transcript 35:5-6, 59:5-8 (JA02923, JA02947). And neither addressed FERC’s

        finding that African-American communities are especially sensitive to air

        pollution. See FEIS 4-513 to 4-514 (JA02372-73).

              Likewise, the Board did not address and resolve conflicting information in

        the record about whether the Union Hill community will experience

        disproportionate adverse health effects even if the facility complies with NAAQS.

        See Pets. Br. 46-50. In its January 4, 2019 letter, Atlantic argued that the station

        will meet “all applicable national ambient air quality standards,” and therefore that

        “there are no adverse health impacts implicating environmental justice



                                                  25
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019     Pg: 33 of 81




        considerations” caused by the Compressor Station. Jan. 2019 Atlantic Comments

        1-2 (JA02849-50). DEQ reached the same conclusion in its presentation to the

        Board on January 8, 2019, just before the Board’s deliberations and final vote.

        Jan. 8, 2019 Hearing Transcript 17:16-18:22, 23:12-25:18 (JA02905-06, JA02911-

        13).

               But the record also reveals that the Compressor Station will increase the

        concentration of air pollutants in Union Hill, including a 69% daily increase in

        PM2.5. See Pets. Br. 50. A detailed analysis by Dr. George Thurston demonstrated

        that the residents of Union Hill will experience disproportionate and adverse

        impacts from PM2.5 emissions, even at levels below NAAQS. Thurston Report

        (JA01449-88); Thurston Testimony (JA02709-13); Jan. 2019 Chesapeake Bay

        Foundation Comments 6 (JA02719). Dr. Thurston reported that short-term

        exposures to PM2.5 are causally connected to heart trouble and increased mortality

        and identified multiple other detrimental health effects related to this pollutant.

        Thurston Report 4-12 (JA01454-62). Further, the health effects of both long-term

        and short-term exposure to PM2.5 will rise significantly within a two-mile radius of

        the Station. Pets. Br. 49. Finally, as EPA has observed, there is no safe level of

        exposure to PM2.5, which has adverse health effects below the current NAAQS.

        EPA, National Ambient Air Quality Standards for Particulate Matter, 78 Fed. Reg.

        3086, 3098 (Jan. 15, 2013). Again, the decision statement and supporting



                                                  26
USCA4 Appeal: 19-1152      Doc: 80       Filed: 08/19/2019    Pg: 34 of 81




        documents are silent about how the Board addressed and resolved this conflicting

        information.

              Out of deep concern for their neighbors and friends, members of the Union

        Hill community and the public assembled a robust record concerning the proposed

        Compressor Station. This record contained a detailed door-to-door study of Union

        Hill residents and expert analysis of the likely adverse effects on the community

        from PM2.5 and other pollutants. This information should have been at the heart of

        any site-suitability review under Section 10.1-1307(E). Yet Respondents now ask

        the Court to cherry-pick from the record, ignore the contrary evidence, and uphold

        the Board’s decision. Administrative law requires more. Genuine Parts Co., 890

        F.3d at 312. Because the Board failed to address and resolve critical evidence

        related to its Section 10.1-1307(E) review, its approval of the Compressor Station

        permit was arbitrary and capricious.

              C.       Respondents Fail to Address the State Agencies’ Undue Reliance
                       on an Improper County Zoning Decision.

              The State Agencies neglected even to respond to Petitioners’ argument, Pets.

        Br. 56-59, that they gave undue weight to a special use permit improperly granted

        by the Buckingham County Board of Supervisors, impermissibly “passing the

        entire issue off onto a different agency” applying different criteria to make a

        different type of decision. Del. Dep’t of Nat. Res. & Envtl. Control v. EPA, 785

        F.3d 1, 16 (D.C. Cir. 2015). By failing to address this issue, the State Agencies

                                                 27
USCA4 Appeal: 19-1152     Doc: 80        Filed: 08/19/2019      Pg: 35 of 81




        concede it. See Fed. R. App. P. 28(b), (a)(8)(A); Cardsoft, LLC v. Verifone, Inc.,

        807 F.3d 1346, 1353 (Fed. Cir. 2015) (holding that appellee effectively concedes

        issue by failing to respond to argument in briefing).

               Atlantic’s response, Atlantic Br. 55-56, misses the point: the State

        Agencies’ error was not basing their site-suitability determination solely on the

        County’s decision or giving that decision any weight. The error was arbitrarily

        giving undue weight to the County’s decision to permit a gas transmission facility

        in an agricultural district, contrary to the County’s own zoning ordinance. See

        Pets. Br. 56-58. Atlantic offers no defense of this error.

        III.   THERE IS NO DISPUTE ABOUT THE BOARD’S ROLE AS
               DECISION-MAKER FOR THIS PERMIT.

               The Court need not dwell on Atlantic’s lead argument. See Atlantic Br.

        30-31. Petitioners agree that it is the Board’s decision that is under review and

        have demonstrated that the Board erred by adopting DEQ’s conclusions on

        redefining the source and the Section 10.1-1307(E) factors.3 See, e.g., Pets. Br. 41

        (focusing on the “factors incorporated into the Board’s final decision” relating to


        3
          Petitioners had good reason to refer to the Board and DEQ collectively, as the
        Board and DEQ are jointly Respondents in this case. Virginia regulations
        themselves recognize the intertwined roles of DEQ and the Board. See 9 Va.
        Admin. Code §§ 5-80-5(C) (defining “Board” as DEQ, except when the Board
        grants direct consideration of permits or requests for public hearings to contest
        permit actions), 5-10-20.



                                                  28
USCA4 Appeal: 19-1152      Doc: 80        Filed: 08/19/2019    Pg: 36 of 81




        the statutory site-suitability and health factors by DEQ). As set forth in Section II,

        supra, Respondents make the more consequential error of conflating the statements

        of individual Board members with the official decision of the Board. See Atlantic

        Br. 46; State Br. 53-54.

               So that there is no confusion, Petitioners reiterate that their claims are based

        on the Board’s decision statement and the DEQ materials specifically incorporated

        into the Board’s decision. See Decision Statement ¶ 2 (JA02999).

                                           CONCLUSION

               For the reasons set forth herein and in Petitioners’ opening brief, the petition

        for review should be granted, and the permit should be vacated and remanded to

        the Board. Petitioners also submit that oral argument should be heard in light of

        the complex technical issues and questions of federal and state law raised by the

        parties’ briefs.



                                               Respectfully submitted,


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                                                  29
USCA4 Appeal: 19-1152   Doc: 80   Filed: 08/19/2019   Pg: 37 of 81




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        Dated: August 16, 2019




                                          30
USCA4 Appeal: 19-1152   Doc: 80    Filed: 08/19/2019   Pg: 38 of 81




                                  Addendum
USCA4 Appeal: 19-1152        Doc: 80            Filed: 08/19/2019          Pg: 39 of 81




                                           TABLE OF CONTENTS

        Statutes

              Va. Code § 2.2-4027 ............................................................................. ADD 1

              Va. Code § 10.1-1322.01 ....................................................................... ADD 3

        Regulations

              9 Va. Admin. Code § 5-10-20 ............................................................... ADD 7

              9 Va. Admin. Code § 5-80-5 ............................................................... ADD 22

              9 Va. Admin. Code § 5-80-1110 ......................................................... ADD 27




                                                                ii
USCA4 Appeal: 19-1152              Doc: 80               Filed: 08/19/2019            Pg: 40 of 81
     § 2.2-4027. Issues on review, VA ST § 2.2-4027




       West's Annotated Code of Virginia
        Title 2.2. Administration of Government (Refs & Annos)
          Subtitle II. Administration of State Government
             Part B. Transaction of Public Business
                Chapter 40. Administrative Process Act (Refs & Annos)
                  Article 5. Court Review (Refs & Annos)

                                                        VA Code Ann. § 2.2-4027

                                                      § 2.2-4027. Issues on review

                                                          Effective: July 1, 2013
                                                               Currentness


     The burden shall be upon the party complaining of agency action to designate and demonstrate an error of law subject to
     review by the court. Such issues of law include: (i) accordance with constitutional right, power, privilege, or immunity, (ii)
     compliance with statutory authority, jurisdiction limitations, or right as provided in the basic laws as to subject matter, the
     stated objectives for which regulations may be made, and the factual showing respecting violations or entitlement in connection
     with case decisions, (iii) observance of required procedure where any failure therein is not mere harmless error, and (iv) the
     substantiality of the evidentiary support for findings of fact. The determination of such fact issue shall be made upon the whole
     evidentiary record provided by the agency if its proceeding was required to be conducted as provided in § 2.2-4009 or 2.2-4020
     or, as to subjects exempted from those sections, pursuant to constitutional requirement or statutory provisions for opportunity
     for an agency record of and decision upon the evidence therein.

     In addition to any other judicial review provided by law, a small business, as defined in subsection A of § 2.2-4007.1, that is
     adversely affected or aggrieved by final agency action shall be entitled to judicial review of compliance with the requirements
     of subdivision A 2 of § 2.2-4007.04 and § 2.2-4007.1 within one year following the date of final agency action.

     When the decision on review is to be made on the agency record, the duty of the court with respect to issues of fact shall be
     to determine whether there was substantial evidence in the agency record to support the agency decision. The duty of the court
     with respect to the issues of law shall be to review the agency decision de novo. The court shall enter judgment in accordance
     with § 2.2-4029.

     Where there is no agency record so required and made, any necessary facts in controversy shall be determined by the court upon
     the basis of the agency file, minutes, and records of its proceedings under § 2.2-4007.01 or 2.2-4019 as augmented, if need be,
     by the agency pursuant to order of the court or supplemented by any allowable and necessary proofs adduced in court except
     that the function of the court shall be to determine only whether the result reached by the agency could reasonably be said, on
     all such proofs, to be within the scope of the legal authority of the agency.

     Whether the fact issues are reviewed on the agency record or one made in the review action, the court shall take due account of
     the presumption of official regularity, the experience and specialized competence of the agency, and the purposes of the basic
     law under which the agency has acted.


     Credits
     Acts 2001, c. 844, eff. Oct. 1, 2001; Acts 2005, c. 619; Acts 2005, c. 682; Acts 2007, c. 873; Acts 2007, c. 916; Acts 2013, c. 619.




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USCA4 Appeal: 19-1152             Doc: 80             Filed: 08/19/2019             Pg: 41 of 81
     § 2.2-4027. Issues on review, VA ST § 2.2-4027




     Notes of Decisions (399)

     VA Code Ann. § 2.2-4027, VA ST § 2.2-4027
     The statutes and Constitution are current through End of the 2019 Reg. Sess.

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USCA4 Appeal: 19-1152              Doc: 80               Filed: 08/19/2019             Pg: 42 of 81
     § 10.1-1322.01. Permits; procedures for public hearings and..., VA ST § 10.1-1322.01




       West's Annotated Code of Virginia
        Title 10.1. Conservation (Refs & Annos)
          Subtitle II. Activities Administered by Other Entities
             Chapter 13. Air Pollution Control Board (Refs & Annos)
               Article 1. General Provisions (Refs & Annos)

                                                      VA Code Ann. § 10.1-1322.01

                      § 10.1-1322.01. Permits; procedures for public hearings and permits before the Board

                                                          Effective: July 1, 2018
                                                               Currentness


     A. During the public comment period on a permit action, interested persons may request a public hearing to contest such action
     or the terms and conditions thereof. Where public hearings are mandatory under state or federal law or regulation, interested
     persons may request, during the public comment period on the permit action, that the Board consider the permit action pursuant
     to the requirements of this section.


     B. Requests for a public hearing or Board consideration shall contain the following information:


     1. The name, mailing address, and telephone number of the requester;


     2. The names and addresses of all persons for whom the requester is acting as a representative (for the purposes of this
     requirement, an unincorporated association is a person);


     3. The reason why a public hearing or Board consideration is requested;


     4. A brief, informal statement setting forth the factual nature and the extent of the interest of the requester or of the persons for
     whom the requester is acting as representative in the application or tentative determination, including an explanation of how
     and to what extent such interest would be directly and adversely affected by the issuance, denial, modification, or revocation
     of the permit in question; and


     5. Where possible, specific references to the terms and conditions of the permit in question, together with suggested revisions
     and alterations of those terms and conditions that the requester considers are needed to conform the permit to the intent and
     provisions of the State Air Pollution Control Law (§ 10.1-1300 et seq.).


     C. Upon completion of the public comment period on a permit action, the Director shall review all timely requests for public
     hearing or Board consideration filed during the public comment period on the permit action and within 30 calendar days
     following the expiration of the time period for the submission of requests shall grant a public hearing or Board consideration
     after the public hearing required by state or federal law or regulation, unless the permittee or applicant agrees to a later date,
     if the Director finds the following:




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USCA4 Appeal: 19-1152               Doc: 80              Filed: 08/19/2019             Pg: 43 of 81
     § 10.1-1322.01. Permits; procedures for public hearings and..., VA ST § 10.1-1322.01




     1. That there is a significant public interest in the issuance, denial, modification, or revocation of the permit in question as
     evidenced by receipt of a minimum of 25 individual requests for a public hearing or Board consideration;


     2. That the requesters raise substantial, disputed issues relevant to the issuance, denial, modification, or revocation of the permit
     in question; and


     3. That the action requested by the interested party is not on its face inconsistent with, or in violation of, the State Air Pollution
     Control Law (§ 10.1-1300 et seq.), federal law or any regulation promulgated thereunder.


     D. Either the Director or a majority of the Board members, acting independently, may request a meeting of the Board to be
     convened within 20 days of the Director's decision pursuant to subsection C in order to review such decision and determine
     by a majority vote of the Board whether or not to grant a public hearing or Board consideration, or to delegate the permit to
     the Director for his decision.

     For purposes of this subsection, if a Board meeting is held via electronic communication means, the meeting shall be held in
     compliance with the provisions of § 2.2-3708.2, except that a quorum of the Board is not required to be physically assembled
     at one primary or central meeting location. Discussions of the Board held via such electronic communication means shall be
     specifically limited to a (i) review of the Director's decision pursuant to subsection C, (ii) determination of the Board whether
     or not to grant a public hearing or Board consideration, or (iii) delegation of the permit to the Director for his decision. No
     other matter of public business shall be discussed or transacted by the Board during any such meeting held via electronic
     communication means.


     E. The Director shall, forthwith, notify by mail at his last known address (i) each requester and (ii) the applicant or permittee
     of the decision to grant or deny a public hearing or Board consideration.


     F. In addition to subsections C, D, and E, the Director may, in his discretion, convene a public hearing on a permit action or
     submit a permit action to the Board for its consideration.


     G. If a determination is made to hold a public hearing, the Director shall schedule the hearing at a time between 45 and 75 days
     after mailing of the notice required by subsection E.


     H. The Director shall cause, or require the applicant to publish, notice of a public hearing to be published once, in a newspaper
     of general circulation in the city or county where the facility or operation that is the subject of the permit or permit application
     is located, at least 30 days before the hearing date.


     I. The Director may, on his own motion or at the request of the applicant or permittee, for good cause shown, reschedule the date
     of the public hearing. In the event the Director reschedules the date for the public hearing after notice has been published, he
     shall, or require the applicant to, provide reasonable notice of the new date of the public hearing. Such notice shall be published
     once in the same newspaper where the original notice was published.


     J. Public hearings held pursuant to these procedures may be conducted by (i) the Board at a regular or special meeting of the
     Board or (ii) one or more members of the Board. A member of the Board shall preside over the public hearing.



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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019            Pg: 44 of 81
     § 10.1-1322.01. Permits; procedures for public hearings and..., VA ST § 10.1-1322.01




     K. The presiding Board member shall have the authority to maintain order, preserve the impartiality of the decision process,
     and conclude the hearing process expeditiously. The presiding Board member, in order to carry out his responsibilities under
     this subsection, is authorized to exercise the following powers, including but not limited to:


     1. Prescribing the methods and procedures to be used in the presentation of factual data, arguments, and proof orally and in
     writing including the imposition of reasonable limitations on the time permitted for oral testimony;


     2. Consolidating the presentation of factual data, arguments, and proof to avoid repetitive presentation of them;


     3. Ruling on procedural matters; and


     4. Acting as custodian of the record of the public hearing causing all notices and written submittals to be entered in it.


     L. The public comment period will remain open for 15 days after the close of the public hearing if required by § 10.1-1307.01.


     M. When the public hearing is conducted by less than a quorum of the Board, the Department shall, promptly after the close
     of the public hearing comment period, make a report to the Board.


     N. After the close of the public hearing comment period, the Board shall, at a regular or special meeting, take final action on the
     permit. Such decision shall be issued within 90 days of the close of the public comment period or from a later date, as agreed
     to by the permittee or applicant and the Board or the Director. The Board shall not take any action on a permit where a public
     hearing was convened solely to satisfy the requirements of state or federal law or regulation unless the permit was provided to
     the Board for its consideration pursuant to the provisions of this section.


     O. When the public hearing was conducted by less than a quorum of the Board, persons who commented during the public
     comment period shall be afforded an opportunity at the Board meeting when final action is scheduled to respond to any
     summaries of the public comments prepared by the Department for the Board's consideration subject to such reasonable
     limitations on the time permitted for oral testimony or presentation of repetitive material as are determined by the Board.


     P. In making its decision, the Board shall consider (i) the verbal and written comments received during the public comment
     period made part of the record, (ii) any explanation of comments previously received during the public comment period made
     at the Board meeting, (iii) the comments and recommendation of the Department, and (iv) the agency files. When the decision
     of the Board is to adopt the recommendation of the Department, the Board shall provide in writing a clear and concise statement
     of the legal basis and justification for the decision reached. When the decision of the Board varies from the recommendation of
     the Department, the Board shall, in consultation with legal counsel, provide a clear and concise statement explaining the reason
     for the variation and how the Board's decision is in compliance with applicable laws and regulations. The written statement
     shall be provided contemporaneously with the decision of the Board. Copies of the decision, certified by the Director, shall be
     mailed by certified mail to the permittee or applicant.




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USCA4 Appeal: 19-1152             Doc: 80             Filed: 08/19/2019             Pg: 45 of 81
     § 10.1-1322.01. Permits; procedures for public hearings and..., VA ST § 10.1-1322.01




     Credits
     Acts 2008, c. 276; Acts 2008, c. 557; Acts 2009, c. 627. Amended by Acts 2018, c. 55.


     VA Code Ann. § 10.1-1322.01, VA ST § 10.1-1322.01
     The statutes and Constitution are current through End of the 2019 Reg. Sess.

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USCA4 Appeal: 19-1152                  Doc: 80           Filed: 08/19/2019            Pg: 46 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




          KeyCite Yellow Flag - Negative Treatment
     Proposed Regulation


       Virginia Administrative Code
         Title 9. Environment (Refs & Annos)
           Vac Agency NO. 5. State Air Pollution Control Board (Refs & Annos)
              Chapter 10. General Definitions (Refs & Annos)

                                                              9 VAC 5-10-20

                                                     9 VAC 5-10-20. Terms defined.

                                                               Currentness


     “Actual emissions rate” means the actual rate of emissions of a pollutant from an emissions unit. In general actual emissions
     shall equal the average rate, in tons per year, at which the unit actually emitted the pollutant during the most recent two-year
     period or some other two-year period which is representative of normal source operation. If the board determines that no two-
     year period is representative of normal source operation, the board shall allow the use of an alternative period of time upon a
     determination by the board that it is more representative of normal source operation. Actual emissions shall be calculated using
     the unit's actual operating hours, production rates, and types of materials processed, stored, or combusted during the selected
     time period.

     “Administrator” means the administrator of the U.S. Environmental Protection Agency (EPA) or his authorized representative.

     “Affected facility” means, with reference to a stationary source, any part, equipment, facility, installation, apparatus, process or
     operation to which an emission standard is applicable or any other facility so designated. The term “affected facility” includes
     any affected source as defined in 40 CFR 63.2.

     “Air pollution” means the presence in the outdoor atmosphere of one or more substances which are or may be harmful or
     injurious to human health, welfare or safety; to animal or plant life; or to property; or which unreasonably interfere with the
     enjoyment by the people of life or property.

     “Air quality” means the specific measurement in the ambient air of a particular air pollutant at any given time.

     “Air quality control region” means any area designated as such in 9 VAC 5-20-200.

     “Alternative method” means any method of sampling and analyzing for an air pollutant which is not a reference or equivalent
     method, but which has been demonstrated to the satisfaction of the board, in specific cases, to produce results adequate for its
     determination of compliance.

     “Ambient air” means that portion of the atmosphere, external to buildings, to which the general public has access.

     “Ambient air quality standard” means any primary or secondary standard designated as such in 9 VAC 5-30 (Ambient Air
     Quality Standards).

     “Board” means the State Air Pollution Control Board or its designated representative.




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USCA4 Appeal: 19-1152              Doc: 80               Filed: 08/19/2019             Pg: 47 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20


     “Certified mail” means electronically certified or postal certified mail, except that this definition shall only apply to the mailing
     of plan approvals, permits, or certificates issued under the provisions of these regulations and only where the recipient has
     notified the department of the recipient's consent to receive plan approvals, permits, or certificates by electronic mail. Any
     provision of these regulations requiring the use of certified mail to transmit special orders or administrative orders pursuant to
     enforcement proceedings shall mean postal certified mail.

     “Class I area” means any prevention of significant deterioration area (i) in which virtually any deterioration of existing air
     quality is considered significant and (ii) designated as such in 9 VAC 5-20-205.

     “Class II area” means any prevention of significant deterioration area (i) in which any deterioration of existing air quality
     beyond that normally accompanying well-controlled growth is considered significant and (ii) designated as such in 9 VAC
     5-20-205.

     “Class III area” means any prevention of significant deterioration area (i) in which deterioration of existing air quality to the
     levels of the ambient air quality standards is permitted and (ii) designated as such in 9 VAC 5-20-205.

     “Continuous monitoring system” means the total equipment used to sample and condition (if applicable), to analyze, and to
     provide a permanent continuous record of emissions or process parameters.

     “Control program” means a plan formulated by the owner of a stationary source to establish pollution abatement goals,
     including a compliance schedule to achieve such goals. The plan may be submitted voluntarily, or upon request or by order
     of the board, to ensure compliance by the owner with standards, policies and regulations adopted by the board. The plan shall
     include system and equipment information and operating performance projections as required by the board for evaluating the
     probability of achievement. A control program shall contain the following increments of progress:


     1. The date by which contracts for emission control system or process modifications are to be awarded, or the date by which
     orders are to be issued for the purchase of component parts to accomplish emission control or process modification.


     2. The date by which the on-site construction or installation of emission control equipment or process change is to be initiated.


     3. The date by which the on-site construction or installation of emission control equipment or process modification is to be
     completed.


     4. The date by which final compliance is to be achieved.

     “Criteria pollutant” means any pollutant for which an ambient air quality standard is established under 9 VAC 5-30 (Ambient
     Air Quality Standards).

     “Day” means a 24-hour period beginning at midnight.

     “Delayed compliance order” means any order of the board issued after an appropriate hearing to an owner which postpones the
     date by which a stationary source is required to comply with any requirement contained in the applicable implementation plan.

     “Department” means any employee or other representative of the Virginia Department of Environmental Quality, as designated
     by the director.




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USCA4 Appeal: 19-1152             Doc: 80              Filed: 08/19/2019             Pg: 48 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20


     “Director” or “executive director” means the director of the Virginia Department of Environmental Quality or a designated
     representative.

     “Dispersion technique”


         1. Means any technique which attempts to affect the concentration of a pollutant in the ambient air by:


              a. Using that portion of a stack which exceeds good engineering practice stack height;


              b. Varying the rate of emission of a pollutant according to atmospheric conditions or ambient concentrations of that
              pollutant; or


              c. Increasing final exhaust gas plume rise by manipulating source process parameters, exhaust gas parameters, stack
              parameters, or combining exhaust gases from several existing stacks into one stack; or other selective handling of
              exhaust gas streams so as to increase the exhaust gas plume rise.


         2. Subdivision 1 of this definition does not include:


              a. The reheating of a gas stream, following use of a pollution control system, for the purpose of returning the gas to
              the temperature at which it was originally discharged from the facility generating the gas stream;


              b. The merging of exhaust gas streams where:


                   (1) The owner demonstrates that the facility was originally designed and constructed with such merged gas
                   streams;


                   (2) After July 8, 1985, such merging is part of a change in operation at the facility that includes the installation
                   of pollution controls and is accompanied by a net reduction in the allowable emissions of a pollutant. This
                   exclusion from the definition of “dispersion techniques” shall apply only to the emissions limitation for the
                   pollutant affected by such change in operation; or


                   (3) Before July 8, 1985, such merging was part of a change in operation at the facility that included the installation
                   of emissions control equipment or was carried out for sound economic or engineering reasons. Where there was
                   an increase in the emissions limitation or, in the event that no emissions limitation was in existence prior to the
                   merging, an increase in the quantity of pollutants actually emitted prior to the merging, the board shall presume
                   that merging was significantly motivated by an intent to gain emissions credit for greater dispersion. Absent a
                   demonstration by the owner that merging was not significantly motivated by such intent, the board shall deny
                   credit for the effects of such merging in calculating the allowable emissions for the source;


              c. Smoke management in agricultural or silvicultural prescribed burning programs;




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USCA4 Appeal: 19-1152             Doc: 80              Filed: 08/19/2019             Pg: 49 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




              d. Episodic restrictions on residential woodburning and open burning; or


              e. Techniques under subdivision 1 c of this definition which increase final exhaust gas plume rise where the resulting
              allowable emissions of sulfur dioxide from the facility do not exceed 5,000 tons per year.

              “Emergency” means a situation that immediately and unreasonably affects, or has the potential to immediately and
              unreasonably affect, public health, safety or welfare; the health of animal or plant life; or property, whether used for
              recreational, commercial, industrial, agricultural or other reasonable use.

              “Emissions limitation” means any requirement established by the board which limits the quantity, rate, or
              concentration of continuous emissions of air pollutants, including any requirements which limit the level of opacity,
              prescribe equipment, set fuel specifications, or prescribe operation or maintenance procedures to assure continuous
              emission reduction.

              “Emission standard” means any provision of 9 VAC 5-40 (Existing Stationary Sources), 9 VAC 5-50 (New and
              Modified Stationary Sources), or 9 VAC 5-60 (Hazardous Air Pollutant Sources) that prescribes an emissions
              limitation, or other requirements that control air pollution emissions.

              “Emissions unit” means any part of a stationary source which emits or would have the potential to emit any air
              pollutant.

              “Equivalent method” means any method of sampling and analyzing for an air pollutant which has been demonstrated
              to the satisfaction of the board to have a consistent and quantitative relationship to the reference method under
              specified conditions.

              “EPA” means the U.S. Environmental Protection Agency or an authorized representative.

              “Excess emissions” means emissions of air pollutant in excess of an emission standard.

              “Excessive concentration” is defined for the purpose of determining good engineering practice (GEP) stack height
              under subdivision 3 of the GEP definition and means:


                   1. For sources seeking credit for stack height exceeding that established under subdivision 2 of the GEP
                   definition, a maximum ground-level concentration due to emissions from a stack due in whole or part to
                   downwash, wakes, and eddy effects produced by nearby structures or nearby terrain features which individually
                   is at least 40% in excess of the maximum concentration experienced in the absence of such downwash, wakes, or
                   eddy effects and which contributes to a total concentration due to emissions from all sources that is greater than an
                   ambient air quality standard. For sources subject to the provisions of Article 8 (9 VAC 5-80-1605 et seq.) of Part
                   II of 9 VAC 5-80 (Permits for Stationary Sources), an excessive concentration alternatively means a maximum
                   ground-level concentration due to emissions from a stack due in whole or part to downwash, wakes, or eddy
                   effects produced by nearby structures or nearby terrain features which individually is at least 40% in excess of the
                   maximum concentration experienced in the absence of the maximum concentration experienced in the absence
                   of such downwash, wakes, or eddy effects and greater than a prevention of significant deterioration increment.
                   The allowable emission rate to be used in making demonstrations under this provision shall be prescribed by the
                   new source performance standard that is applicable to the source category unless the owner demonstrates that
                   this emission rate is infeasible. Where such demonstrations are approved by the board, an alternative emission
                   rate shall be established in consultation with the owner;



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USCA4 Appeal: 19-1152           Doc: 80              Filed: 08/19/2019            Pg: 50 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




                  2. For sources seeking credit after October 11, 1983, for increases in existing stack heights up to the heights
                  established under subdivision 2 of the GEP definition, either (i) a maximum ground-level concentration due
                  in whole or part to downwash, wakes or eddy effects as provided in subdivision 1 of this definition, except
                  that the emission rate specified by any applicable implementation plan (or, in the absence of such a limit, the
                  actual emission rate) shall be used, or (ii) the actual presence of a local nuisance caused by the existing stack,
                  as determined by the board; and


                  3. For sources seeking credit after January 12, 1979, for a stack height determined under subdivision 2 of the
                  GEP definition where the board requires the use of a field study or fluid model to verify GEP stack height,
                  for sources seeking stack height credit after November 9, 1984, based on the aerodynamic influence of cooling
                  towers, and for sources seeking stack height credit after December 31, 1970, based on the aerodynamic influence
                  of structures not adequately represented by the equations in subdivision 2 of the GEP definition, a maximum
                  ground-level concentration due in whole or part to downwash, wakes or eddy effects that is at least 40% in excess
                  of the maximum concentration experienced in the absence of such downwash, wakes, or eddy effects.

                  “Existing source” means any stationary source other than a new source or modified source.

                  “Facility” means something that is built, installed or established to serve a particular purpose and includes, but
                  is not limited to, buildings, installations, public works, businesses, commercial and industrial plants, shops and
                  stores, heating and power plants, apparatus, processes, operations, structures, and equipment of all types.

                  “Federal Clean Air Act” means Chapter 85 (§ 7401 et seq.) of Title 42 of the United States Code.

                  “Federally enforceable” means all limitations and conditions which are enforceable by the administrator and
                  citizens under the federal Clean Air Act or that are enforceable under other statutes administered by the
                  administrator. Federally enforceable limitations and conditions include, but are not limited to, the following:


                       1. Emission standards, alternative emission standards, alternative emissions limitations, and equivalent
                       emissions limitations established pursuant to § 112 of the federal Clean Air Act as amended in 1990.


                       2. New source performance standards established pursuant to § 111 of the federal Clean Air Act, and
                       emission standards established pursuant to § 112 of the federal Clean Air Act before it was amended in 1990.


                       3. All terms and conditions in a federal operating permit, including any provisions that limit a source's
                       potential to emit, unless expressly designated as not federally enforceable.


                       4. Limitations and conditions that are part of an implementation plan.


                       5. Limitations and conditions that are part of a § 111(d) or 111(d)/129 plan.


                       6. Limitations and conditions that are part of a federal construction permit issued under 40 CFR 52.21 or
                       any construction permit issued under regulations approved by EPA in accordance with 40 CFR Part 51.



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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019            Pg: 51 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




                          7. Limitations and conditions that are part of an operating permit issued pursuant to a program approved by
                          EPA into an implementation plan as meeting EPA's minimum criteria for federal enforceability, including
                          adequate notice and opportunity for EPA and public comment prior to issuance of the final permit and
                          practicable enforceability.


                          8. Limitations and conditions in a Virginia regulation or program that has been approved by EPA under
                          subpart E of 40 CFR Part 63 for the purposes of implementing and enforcing § 112 of the federal Clean
                          Air Act.


                          9. Individual consent agreements issued pursuant to the legal authority of EPA.

                          “Good engineering practice” or “GEP,” with reference to the height of the stack, means the greater of:


     1. 65 meters, measured from the ground-level elevation at the base of the stack;


     2. a. For stacks in existence on January 12, 1979, and for which the owner had obtained all applicable permits or approvals
     required under 9 VAC 5-80 (Permits for Stationary Sources),

     Hg = 2.5H,

     provided the owner produces evidence that this equation was actually relied on in establishing an emissions limitation;


     b. For all other stacks,

     Hg = H + 1.5L,

     where:

     Hg = good engineering practice stack height, measured from the ground-level elevation at the base of the stack,

     H = height of nearby structure(s) measured from the ground-level elevation at the base of the stack,

     L = lesser dimension, height or projected width, of nearby structure(s) provided that the board may require the use of a field
     study or fluid model to verify GEP stack height for the source; or


     3. The height demonstrated by a fluid model or a field study approved by the board, which ensures that the emissions from a
     stack do not result in excessive concentrations of any air pollutant as a result of atmospheric downwash, wakes, or eddy effects
     created by the source itself, nearby structures or nearby terrain features.

     “Hazardous air pollutant” means an air pollutant to which no ambient air quality standard is applicable and which in the
     judgment of the administrator causes, or contributes to, air pollution which may reasonably be anticipated to result in an increase
     in mortality or an increase in serious irreversible, or incapacitating reversible, illness.




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USCA4 Appeal: 19-1152              Doc: 80               Filed: 08/19/2019             Pg: 52 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20


     “Implementation plan” means the portion or portions of the state implementation plan, or the most recent revision thereof,
     which has been approved under § 110 of the federal Clean Air Act, or promulgated under § 110(c) of the federal Clean Air
     Act, or promulgated or approved pursuant to regulations promulgated under § 301(d) of the federal Clean Air Act and which
     implements the relevant requirements of the federal Clean Air Act.

     “Initial emission test” means the test required by any regulation, permit issued pursuant to 9 VAC 5-80 (Permits for Stationary
     Sources), control program, compliance schedule or other enforceable mechanism for determining compliance with new or more
     stringent emission standards or permit limitations or other emissions limitations requiring the installation or modification of
     air pollution control equipment or implementation of a control method. Initial emission tests shall be conducted in accordance
     with 9 VAC 5-40-30.

     “Initial performance test” means the test required by (i) 40 CFR Part 60 for determining compliance with standards of
     performance, or (ii) a permit issued pursuant to 9 VAC 5-80 (Permits for Stationary Sources) for determining initial compliance
     with permit limitations. Initial performance tests shall be conducted in accordance with 9 VAC 5-50-30 and 9 VAC 5-60-30.

     “Isokinetic sampling” means sampling in which the linear velocity of the gas entering the sampling nozzle is equal to that of
     the undisturbed gas stream at the sample point.

     “Locality” means a city, town, county or other public body created by or pursuant to state law.

     “Mail” means electronic or postal delivery.

     “Maintenance area” means any geographic region of the United States previously designated as a nonattainment area and
     subsequently redesignated to attainment subject to the requirement to develop a maintenance plan and designated as such in
     9 VAC 5-20-203.

     “Malfunction” means any sudden failure of air pollution control equipment, of process equipment, or of a process to operate
     in a normal or usual manner, which failure is not due to intentional misconduct or negligent conduct on the part of the owner
     or other person. Failures that are caused in part by poor maintenance or careless operation are not malfunctions.

     “Monitoring device” means the total equipment used to measure and record (if applicable) process parameters.

     “Nearby” as used in the definition of good engineering practice (GEP) is defined for a specific structure or terrain feature and:


     1. For purposes of applying the formulae provided in subdivision 2 of the GEP definition means that distance up to five times
     the lesser of the height or the width dimension of a structure, but not greater than 0.8 km (1/2 mile); and


     2. For conducting demonstrations under subdivision 3 of the GEP definition means not greater than 0.8 km (1/2 mile), except
     that the portion of a terrain feature may be considered to be nearby which falls within a distance of up to 10 times the maximum
     height (Ht) of the feature, not to exceed two miles if such feature achieves a height (Ht) 0.8 km from the stack that is at least 40%
     of the GEP stack height determined by the formulae provided in subdivision 2 b of the GEP definition or 26 meters, whichever
     is greater, as measured from the ground-level elevation at the base of the stack. The height of the structure or terrain feature is
     measured from the ground-level elevation at the base of the stack.

     “Nitrogen oxides” means all oxides of nitrogen except nitrous oxide, as measured by test methods set forth in 40 CFR Part 60.




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USCA4 Appeal: 19-1152              Doc: 80             Filed: 08/19/2019            Pg: 53 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20


     “Nonattainment area” means any area which is shown by air quality monitoring data or, where such data are not available, which
     is calculated by air quality modeling (or other methods determined by the board to be reliable) to exceed the levels allowed by
     the ambient air quality standard for a given pollutant including, but not limited to, areas designated as such in 9 VAC 5-20-204.

     “One hour” means any period of 60 consecutive minutes.

     “One-hour period” means any period of 60 consecutive minutes commencing on the hour.

     “Organic compound” means any chemical compound of carbon excluding carbon monoxide, carbon dioxide, carbonic disulfide,
     carbonic acid, metallic carbides, metallic carbonates and ammonium carbonate.

     “Owner” means any person, including bodies politic and corporate, associations, partnerships, personal representatives, trustees
     and committees, as well as individuals, who owns, leases, operates, controls or supervises a source.

     “Particulate matter” means any airborne finely divided solid or liquid material with an aerodynamic diameter smaller than
     100 micrometers.

     “Particulate matter emissions” means all finely divided solid or liquid material, other than uncombined water, emitted to the
     ambient air as measured by the applicable reference method, or an equivalent or alternative method.

     “PM10” means particulate matter with an aerodynamic diameter less than or equal to a nominal 10 micrometers as measured
     by the applicable reference method or an equivalent method.

     “PM10 emissions” means finely divided solid or liquid material, with an aerodynamic diameter less than or equal to a nominal 10
     micrometers emitted to the ambient air as measured by the applicable reference method, or an equivalent or alternative method.

     “Performance test” means a test for determining emissions from new or modified sources.

     “Person” means an individual, corporation, partnership, association, a governmental body, a municipal corporation, or any
     other legal entity.

     “Pollutant” means any substance the presence of which in the outdoor atmosphere is or may be harmful or injurious to human
     health, welfare or safety, to animal or plant life, or to property, or which unreasonably interferes with the enjoyment by the
     people of life or property.

     “Potential to emit” means the maximum capacity of a stationary source to emit a pollutant under its physical and operational
     design. Any physical or operational limitation on the capacity of the source to emit a pollutant, including air pollution control
     equipment, and restrictions on hours of operation or on the type or amount of material combusted, stored, or processed, shall
     be treated as part of its design only if the limitation or its effect on emissions is state and federally enforceable.

     “Prevention of significant deterioration area” means any area not designated as a nonattainment area in 9 VAC 5-20-204 for
     a particular pollutant and designated as such in 9 VAC 5-20-205.

     “Proportional sampling” means sampling at a rate that produces a constant ratio of sampling rate to stack gas flow rate.

     “Public hearing” means, unless indicated otherwise, an informal proceeding, similar to that provided for in § 2.2-4007.02 of
     the Administrative Process Act, held to afford persons an opportunity to submit views and data relative to a matter on which
     a decision of the board is pending.




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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019            Pg: 54 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20


     “Reference method” means any method of sampling and analyzing for an air pollutant as described in the following EPA
     regulations:


     1. For ambient air quality standards in 9 VAC 5-30 (Ambient Air Quality Standards): The applicable appendix of 40 CFR Part
     50 or any method that has been designated as a reference method in accordance with 40 CFR Part 53, except that it does not
     include a method for which a reference designation has been canceled in accordance with 40 CFR 53.11 or 40 CFR 53.16.


     2. For emission standards in 9 VAC 5-40 (Existing Stationary Sources) and 9 VAC 5-50 (New and Modified Stationary Sources):
     Appendix M of 40 CFR Part 51 or Appendix A of 40 CFR Part 60.


     3. For emission standards in 9 VAC 5-60 (Hazardous Air Pollutant Sources): Appendix B of 40 CFR Part 61 or Appendix A
     of 40 CFR Part 63.

     “Regional director” means the regional director of an administrative region of the Department of Environmental Quality or
     a designated representative.

     “Regulation of the board” means any regulation adopted by the State Air Pollution Control Board under any provision of the
     Code of Virginia.

     “Regulations for the Control and Abatement of Air Pollution” means 9 VAC 5-10 (General Definitions) through 9 VAC 5-80
     (Permits for Stationary Sources).

     “Reid vapor pressure” means the absolute vapor pressure of volatile crude oil and volatile nonviscous petroleum liquids except
     liquefied petroleum gases as determined by American Society for Testing and Materials publication, “Standard Test Method
     for Vapor Pressure of Petroleum Products (Reid Method)” (see 9 VAC 5-20-21).

     “Run” means the net period of time during which an emission sample is collected. Unless otherwise specified, a run may be
     either intermittent or continuous within the limits of good engineering practice.

     “Section 111(d) plan” means the portion or portions of the plan, or the most recent revision thereof, which has been approved
     under 40 CFR 60.27(b) in accordance with § 111(d)(1) of the federal Clean Air Act, or promulgated under 40 CFR 60.27(d)
     in accordance with § 111(d)(2) of the federal Clean Air Act, and which implements the relevant requirements of the federal
     Clean Air Act.

     “Section 111(d)/129 plan” means the portion or portions of the plan, or the most recent revision thereof, which has been approved
     under 40 CFR 60.27(b) in accordance with §§ 111(d)(1) and 129(b)(2) of the federal Clean Air Act, or promulgated under 40
     CFR 60.27(d) in accordance with §§ 111(d)(2) and 129(b)(3) of the federal Clean Air Act, and which implements the relevant
     requirements of the federal Clean Air Act.

     “Shutdown” means the cessation of operation of an affected facility for any purpose.

     “Source” means any one or combination of the following: buildings, structures, facilities, installations, articles, machines,
     equipment, landcraft, watercraft, aircraft or other contrivances which contribute, or may contribute, either directly or indirectly
     to air pollution. Any activity by any person that contributes, or may contribute, either directly or indirectly to air pollution,
     including, but not limited to, open burning, generation of fugitive dust or emissions, and cleaning with abrasives or chemicals.




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USCA4 Appeal: 19-1152               Doc: 80              Filed: 08/19/2019             Pg: 55 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20


     “Stack” means any point in a source designed to emit solids, liquids or gases into the air, including a pipe or duct, but not
     including flares.

     “Stack in existence” means that the owner had:


     1. Begun, or caused to begin, a continuous program of physical on-site construction of the stack; or


     2. Entered into binding agreements or contractual obligations, which could not be canceled or modified without substantial loss
     to the owner, to undertake a program of construction of the stack to be completed in a reasonable time.

     “Standard conditions” means a temperature of 20°C (68°F) and a pressure of 760 mm of Hg (29.92 inches of Hg).

     “Standard of performance” means any provision of 9 VAC 5-50 (New and Modified Stationary Sources) which prescribes an
     emissions limitation or other requirements that control air pollution emissions.

     “Startup” means the setting in operation of an affected facility for any purpose.

     “State enforceable” means all limitations and conditions which are enforceable by the board or department, including, but
     not limited to, those requirements developed pursuant to 9 VAC 5-170-160; requirements within any applicable regulation,
     order, consent agreement or variance; and any permit requirements established pursuant to 9 VAC 5-80 (Permits for Stationary
     Sources).

     “State Implementation Plan” means the plan, including the most recent revision thereof, which has been approved or
     promulgated by the administrator, U.S. Environmental Protection Agency, under § 110 of the federal Clean Air Act, and which
     implements the requirements of § 110.

     “Stationary source” means any building, structure, facility or installation which emits or may emit any air pollutant. A stationary
     source shall include all of the pollutant-emitting activities which belong to the same industrial grouping, are located on one or
     more contiguous or adjacent properties, and are under the control of the same person (or persons under common control) except
     the activities of any vessel. Pollutant-emitting activities shall be considered as part of the same industrial grouping if they belong
     to the same “Major Group” (i.e., which have the same two-digit code) as described in the Standard Industrial Classification
     Manual (see 9 VAC 5-20-21).

     “These regulations” means 9 VAC 5-10 (General Definitions) through 9 VAC 5-80 (Permits for Stationary Sources).

     “Total suspended particulate” or “TSP” means particulate matter as measured by the reference method described in Appendix
     B of 40 CFR Part 50.

     “True vapor pressure” means the equilibrium partial pressure exerted by a petroleum liquid as determined in accordance with
     methods described in American Petroleum Institute (API) publication, “Evaporative Loss from Floating-Roof Tanks” (see 9
     VAC 5-20-21). The API procedure may not be applicable to some high viscosity or high pour crudes. Available estimates of
     true vapor pressure may be used in special cases such as these.

     “Urban area” means any area consisting of a core city with a population of 50,000 or more plus any surrounding localities
     with a population density of 80 persons per square mile and designated as such in 9 VAC 5-20-201.




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USCA4 Appeal: 19-1152             Doc: 80                Filed: 08/19/2019        Pg: 56 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20


     “Vapor pressure,” except where specific test methods are specified, means true vapor pressure, whether measured directly,
     or determined from Reid vapor pressure by use of the applicable nomograph in American Petroleum Institute publication,
     “Evaporative Loss from Floating-Roof Tanks” (see 9 VAC 5-20-21).

     “Virginia Air Pollution Control Law” means Chapter 13 (§ 10.1-1300 et seq.) of Title 10.1 of the Code of Virginia.

     “Volatile organic compound” means any compound of carbon, excluding carbon monoxide, carbon dioxide, carbonic acid,
     metallic carbides or carbonates, and ammonium carbonate, which participates in atmospheric photochemical reactions.


     1. This includes any such organic compounds which have been determined to have negligible photochemical reactivity other
     than the following:


     a. Methane;


     b. Ethane;


     c. Methylene chloride (dichloromethane);


     d. 1,1,1-trichloroethane (methyl chloroform);


     e. 1,1,2-trichloro-1,2,2-trifluoroethane (CFC-113);


     f. Trichlorofluoromethane (CFC-11);


     g. Dichlorodifluoromethane (CFC-12);


     h. Chlorodifluoromethane (H CFC-22);


     i. Trifluoromethane (H FC-23);


     j. 1,2-dichloro 1,1,2,2,-tetrafluoroethane (CFC-114);


     k. Chloropentafluoroethane (CFC-115);


     l. 1,1,1-trifluoro 2,2-dichloroethane (HCFC-123);


     m. 1,1,1,2-tetrafluoroethane (HFC-134a);




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USCA4 Appeal: 19-1152               Doc: 80           Filed: 08/19/2019   Pg: 57 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




     n. 1,1-dichloro 1-fluoroethane (HCFC-141b);


     o. 1-chloro 1,1-difluoroethane (HCFC-142b);


     p. 2-chloro-1,1,1,2-tetrafluoroethane (HCFC-124);


     q. Pentafluoroethane (HFC-125);


     r. 1,1,2,2-tetrafluoroethane (HFC-134);


     s. 1,1,1-trifluoroethane (HFC-143a);


     t. 1,1-difluoroethane (HFC-152a);


     u. Parachlorobenzotrifluoride (PCBTF);


     v. Cyclic, branched, or linear completely methylated siloxanes;


     w. Acetone;


     x. Perchloroethylene (tetrachloroethylene);


     y. 3,3-dichloro-1,1,1,2,2-pentafluoropropane (HCFC-225ca);


     z. 1,3-dichloro-1,1,2,2,3-pentafluoropropane (HCFC-225cb);


     aa. 1,1,1,2,3,4,4,5,5,5-decafluoropentane (HFC 43-10mee);


     bb. Difluoromethane (HFC-32);


     cc. Ethylfluoride (HFC-161);


     dd. 1,1,1,3,3,3-hexafluoropropane (HFC-236fa);


     ee. 1,1,2,2,3-pentafluoropropane (HFC-245ca);




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                                                                 U.S. Government Works.   12
USCA4 Appeal: 19-1152            Doc: 80              Filed: 08/19/2019          Pg: 58 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




     ff. 1,1,2,3,3-pentafluoropropane (HFC-245ea);


     gg. 1,1,1,2,3-pentafluoropropane (HFC-245eb);


     hh. 1,1,1,3,3-pentafluoropropane (HFC-245fa);


     ii. 1,1,1,2,3,3-hexafluoropropane (HFC-236ea);


     jj. 1,1,1,3,3-pentafluorobutane (HFC-365mfc);


     kk. Chlorofluoromethane (HCFC-31);


     ll. 1 chloro-1-fluoroethane (HCFC-151a);


     mm. 1,2-dichloro-1,1,2-trifluoroethane (HCFC-123a);


     nn. 1,1,1,2,2,3,3,4,4-nonafluoro-4-methoxy-butane (C4F9OCH3 or HFE-7100);


     oo. 2-(difluoromethoxymethyl)-1,1,1,2,3,3,3-hepta-fluoropropane ((CF3)2CFCF2 OCH3);


     pp. 1-ethoxy-1,1,2,2,3,3,4,4,4-nonafluorobutane (C4F9 OC2H5 or HFE-7200);


     qq. 2-(ethoxydifluoromethyl)-1,1,1,2,3,3,3-hepta-fluoropropane ((CF3)2CFCF2OC2H5);


     rr. Methyl acetate;


     ss. 1,1,1,2,2,3,3-heptafluoro-3-methoxy-propane (n-C3F7OCH3) (HFE-7000);


     tt. 3-ethoxy-1,1,1,2,3,4,4,5,5,6,6,6-dodecafluoro-2-(trifluoromethyl) hexane (HFE-7500);


     uu. 1,1,1,2,3,3,3-heptafluoropropane (HFC 227ea);


     vv. methyl formate (HCOOCH3);


     ww. 1,1,1,2,2,3,4,5,5,5-decafluoro-3-methoxy-4-trifluoromethyl-pentane (HFE-7300);



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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019           Pg: 59 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




     xx. propylene carbonate;


     yy. dimethyl carbonate;


     zz. trans-1,3,3,3-tetrafluoropropene;


     aaa. HCF2OCF2H (HFE-134);


     bbb. HCF2OCF2OCF2H (HFE-236cal2);


     ccc. HCF2OCF2CF2OCF2H (HFE-338pcc13);


     ddd. HCF2OCF2OCF2CF2OCF2H (H-Galden 1040x or H-Galden ZT 130 (or 150 or 180));


     eee. trans 1-chloro-3,3,3-trifluoroprop-1-ene;


     fff. 2,3,3,3-tetrafluoropropene;


     ggg. 2-amino-2-methyl-1-propanol;


     hhh. t-butyl acetate;


     iii. 1,1,2,2-Tetrafluoro-1-(2,2,2-trifluoroethoxy) ethane; and


     jjj. Perfluorocarbon compounds that fall into these classes:


     (1) Cyclic, branched, or linear, completely fluorinated alkanes;


     (2) Cyclic, branched, or linear, completely fluorinated ethers with no unsaturations;


     (3) Cyclic, branched, or linear, completely fluorinated tertiary amines with no unsaturations; and


     (4) Sulfur containing perfluorocarbons with no unsaturations and with sulfur bonds only to carbon and fluorine.




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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019              Pg: 60 of 81
     9 VAC 5-10-20. Terms defined., 9 VA ADC 5-10-20




     2. For purposes of determining compliance with emissions standards, volatile organic compounds shall be measured by the
     appropriate reference method in accordance with the provisions of 9 VAC 5-40-30 or 9 VAC 5-50-30, as applicable. Where
     such a method also measures compounds with negligible photochemical reactivity, these negligibly reactive compounds may
     be excluded as a volatile organic compound if the amount of such compounds is accurately quantified, and such exclusion is
     approved by the board.


     3. As a precondition to excluding these compounds as volatile organic compounds or at any time thereafter, the board may
     require an owner to provide monitoring or testing methods and results demonstrating, to the satisfaction of the board, the amount
     of negligibly reactive compounds in the emissions of the source.


     4. Exclusion of the compounds listed in subdivision 1 of this definition in effect exempts such compounds from the provisions
     of emission standards for volatile organic compounds. The compounds are exempted on the basis of being so inactive that
     they will not contribute significantly to the formation of ozone in the troposphere. However, this exemption does not extend to
     other properties of the exempted compounds which, at some future date, may require regulation and limitation of their use in
     accordance with requirements of the federal Clean Air Act.


     5. Reserved.

     “Welfare” means that language referring to effects on welfare includes, but is not limited to, effects on soils, water, crops,
     vegetation, man-made materials, animals, wildlife, weather, visibility and climate, damage to and deterioration of property, and
     hazards to transportation, as well as effects on economic values and on personal comfort and well-being.



     Notes of Decisions (1)

     Official Virginia Administrative Code, current through 35:23 VA.R July 8, 2019, and fast-track regulations current through
     35:23 VA.R July 8, 2019.
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     9 VAC 5-10-20, 9 VA ADC 5-10-20

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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019            Pg: 61 of 81
     9 VAC 5-80-5. Definitions., 9 VA ADC 5-80-5




       Virginia Administrative Code
         Title 9. Environment (Refs & Annos)
           Vac Agency NO. 5. State Air Pollution Control Board (Refs & Annos)
              Chapter 80. Permits for Stationary Sources (Refs & Annos)
                 Part I. Permit Actions Before the Board (Refs & Annos)

                                                              9 VAC 5-80-5

                                                      9 VAC 5-80-5. Definitions.

                                                               Currentness


     A. For the purpose of applying this chapter in the context of the Regulations for the Control and Abatement of Air Pollution
     and related uses, the words or terms shall have the meanings given them in subsection C of this section.


     B. Unless otherwise required by context, all terms not defined herein shall have the meaning given them in 9 VAC 5-170
     (Regulation for General Administration), 9 VAC 5-10 (General Definitions), or commonly ascribed to them by recognized
     authorities, in that order of priority.


     C. Terms defined.

     “Applicable federal requirement” means all of, but not limited to, the following as they apply to affected emissions units subject
     to this chapter (including requirements that have been promulgated or approved by the administrator through rulemaking at the
     time of permit issuance but have future-effective compliance dates):


          1. Any standard or other requirement provided for in an implementation plan established pursuant to § 110, 111(d) or 129
          of the federal Clean Air Act, including any source-specific provisions such as consent agreements or orders.


          2. Any term or condition in any construction permit issued under the new source review program or in any operating
          permit issued pursuant to the state operating permit program. However, those terms or conditions designated as state-only
          enforceable shall not be applicable federal requirements.


          3. Any emission standard, alternative emission standard, alternative emissions limitation, equivalent emissions limitation
          or other requirement established pursuant to § 112 or 129 of the federal Clean Air Act as amended in 1990.


          4. Any new source performance standard or other requirement established pursuant to § 111 of the federal Clean Air Act,
          and any emission standard or other requirement established pursuant to § 112 of the federal Clean Air Act before it was
          amended in 1990.


          5. Any limitations and conditions or other requirement in a Virginia regulation or program that has been approved by EPA
          under Subpart E of 40 CFR Part 63 for the purposes of implementing and enforcing § 112 of the federal Clean Air Act.




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USCA4 Appeal: 19-1152            Doc: 80             Filed: 08/19/2019            Pg: 62 of 81
     9 VAC 5-80-5. Definitions., 9 VA ADC 5-80-5




         6. Any requirement concerning accident prevention under § 112(r)(7) of the federal Clean Air Act.


         7. Any compliance monitoring requirements established pursuant to either § 504(b) or § 114(a)(3) of the federal Clean
         Air Act.


         8. Any standard or other requirement for consumer and commercial products under § 183(e) of the federal Clean Air Act.


         9. Any standard or other requirement for tank vessels under § 183(f) of the federal Clean Air Act.


         10. Any standard or other requirement in 40 CFR Part 55 to control air pollution from outer continental shelf sources.


         11. Any standard or other requirement of the regulations promulgated to protect stratospheric ozone under Title VI of the
         federal Clean Air Act, unless the administrator has determined that such requirements need not be contained in a federal
         operating permit.


         12. With regard to temporary sources subject to 9 VAC 5-80-130, (i) any ambient air quality standard, except applicable
         state requirements, and (ii) requirements regarding increments or visibility as provided in Article 8 (9 VAC 5-80-1605 et
         seq.) of Part II of this chapter.


         13. Any standard or other requirement under § 126(a)(1) and (c) of the federal Clean Air Act.

         “Board” means, for the purposes of this chapter, the Department of Environmental Quality. “Board” shall mean the State
         Air Pollution Control Board only for the purposes of granting direct consideration of permit actions as provided in 9 VAC
         5-80-25 and granting requests for public hearings to contest permit actions as provided in 9 VAC 5-80-35.

         “Federally enforceable” means all limitations and conditions that are enforceable by the administrator and citizens
         under the federal Clean Air Act or that are enforceable under other statutes administered by the administrator. Federally
         enforceable limitations and conditions include, but are not limited to the following:


              1. Emission standards, alternative emission standards, alternative emissions limitations, and equivalent emissions
              limitations established pursuant to § 112 of the federal Clean Air Act as amended in 1990.


              2. New source performance standards established pursuant to § 111 of the federal Clean Air Act, and emission
              standards established pursuant to § 112 of the federal Clean Air Act before it was amended in 1990.


              3. All terms and conditions (unless expressly designated as state-only enforceable) in a federal operating permit,
              including any provisions that limit a source's potential to emit.


              4. Limitations and conditions that are part of an implementation plan established pursuant to § 110, 111(d) or 129
              of the federal Clean Air Act.



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USCA4 Appeal: 19-1152             Doc: 80              Filed: 08/19/2019            Pg: 63 of 81
     9 VAC 5-80-5. Definitions., 9 VA ADC 5-80-5




              5. Limitations and conditions (unless expressly designated as state-only enforceable) that are part of a federal
              construction permit issued under 40 CFR 52.21 or any construction permit issued under regulations approved by EPA
              into the implementation plan.


              6. Limitations and conditions (unless expressly designated as state-only enforceable) that are part of a state operating
              permit where the permit and the permit program pursuant to which it was issued meet all of the following criteria:


                   a. The operating permit program has been approved by the EPA into the implementation plan under § 110 of
                   the federal Clean Air Act.


                   b. The operating permit program imposes a legal obligation that operating permit holders adhere to the terms
                   and limitations of such permits and provides that permits that do not conform to the operating permit program
                   requirements and the requirements of EPA's underlying regulations may be deemed not “federally enforceable”
                   by EPA.


                   c. The operating permit program requires that all emissions limitations, controls, and other requirements imposed
                   by such permits will be at least as stringent as any other applicable limitations and requirements contained in
                   the implementation plan or enforceable under the implementation plan, and that the program may not issue
                   permits that waive, or make less stringent, any limitations or requirements contained in or issued pursuant to the
                   implementation plan, or that are otherwise “federally enforceable.”


                   d. The limitations, controls, and requirements in the permit in question are permanent, quantifiable, and otherwise
                   enforceable as a practical matter.


                   e. The permit in question was issued only after adequate and timely notice and opportunity for comment by EPA
                   and the public.


              7. Limitations and conditions in a regulation of the board or program that has been approved by EPA under Subpart
              E of 40 CFR Part 63 for the purposes of implementing and enforcing § 112 of the federal Clean Air Act.


              8. Individual consent agreements that EPA has legal authority to create.

              “Federal hazardous air pollutant new source review (NSR) program” means a program for the preconstruction
              review and approval of the construction, reconstruction or modification of any stationary source in accordance with
              regulations specified in subdivisions 1 through 3 of this definition and promulgated to implement the requirements
              of § 112 (relating to hazardous air pollutants) of the federal Clean Air Act. Any permit issued under this program
              is a major NSR permit.


                   1. The provisions of 40 CFR 61.05, 40 CFR 61.06, 40 CFR 61.07, 40 CFR 61.08 and 40 CFR 61.15 for issuing
                   approvals of the construction of any new source or modification of any existing source subject to the provisions
                   of 40 CFR Part 61.




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USCA4 Appeal: 19-1152             Doc: 80              Filed: 08/19/2019             Pg: 64 of 81
     9 VAC 5-80-5. Definitions., 9 VA ADC 5-80-5




                   2. The provisions of 40 CFR 63.5 for issuing approvals to construct a new source or reconstruct a source subject
                   to the provisions of 40 CFR Part 63, except for Subparts B, D and E.


                   3. The provisions of 40 CFR 63.50 through 40 CFR 63.56 for issuing Notices of MACT Approval prior to the
                   construction of a new emissions unit.

                   “Federal hazardous air pollutant new source review (NSR) permit” means a permit issued under the federal
                   hazardous air pollutant new source review program.

                   “Federal operating permit” means a permit issued under the federal operating permit program.

                   “Federal operating permit program” means an operating permit system (i) for issuing terms and conditions for
                   major stationary sources, (ii) established to implement the requirements of Title V of the federal Clean Air Act
                   and associated regulations, and (iii) codified in Article 1 (9 VAC 5-80-50 et seq.), Article 2 (9 VAC 5-80-310 et
                   seq.), Article 3 (9 VAC 5-80-360 et seq.), and Article 4 (9 VAC 5-80-710 et seq.) of Part II of this chapter.

                   “Major new source review (NSR) permit” means a permit issued under the major new source review program.

                   “Major new source review (major NSR) program” means a preconstruction review and permit program (i) for
                   new major stationary sources or major modifications (physical changes or changes in the method of operation),
                   (ii) established to implement the requirements of §§ 112, 165 and 173 of the federal Clean Air Act and associated
                   regulations, and (iii) codified in Article 7 (9 VAC 5-80-1400 et seq.), Article 8 (9 VAC 5-80-1605 et seq.) and
                   Article 9 (9 VAC 5-80-2000 et seq.) of Part II of this chapter.

                   “Minor new source review (NSR) permit” means a permit issued under the minor new source review program.

                   “Minor new source review (minor NSR) program” means a preconstruction review and permit program (i) for
                   regulated air pollutants from new stationary sources or projects that are not subject to review under the major
                   new source review program, (ii) established to implement the requirements of §§ 110(a)(2)(C) and 112 of the
                   federal Clean Air Act and associated regulations, and (iii) codified in Article 6 (9 VAC 5-80-1100 et seq.) of Part
                   II of this chapter. The minor NSR program may also be used to implement the terms and conditions designated
                   as state-only enforceable; however, those terms and conditions shall not be applicable federal requirements.

                   “New source review (NSR) permit” means a permit issued under the new source review program.

                   “New source review (NSR) program” means a preconstruction review and permit program (i) for regulated air
                   pollutants from new stationary sources or projects (physical changes or changes in the method of operation),
                   (ii) established to implement the requirements of §§ 110(a)(2)(C), 112 (relating to permits for hazardous air
                   pollutants), 165 (relating to permits in prevention of significant deterioration areas), and 173 (relating to permits
                   in nonattainment areas) of the federal Clean Air Act and associated regulations, and (iii) Article 7 (9 VAC
                   5-80-1400 et seq.), Article 8 (9 VAC 5-80-1605 et seq.) and Article 9 (9 VAC 5-80-2000 et seq.) of Part II of
                   this chapter. The NSR program may also be used to implement the terms and conditions designated as state-only
                   enforceable; however, those terms and conditions shall not be applicable federal requirements.

                   “Nonattainment major new source review (NSR) program” means a preconstruction review and permit program
                   (i) for new major stationary sources or major modifications (physical changes or changes in the method of
                   operation), (ii) established to implement the requirements of § 173 of the federal Clean Air Act and associated




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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019              Pg: 65 of 81
     9 VAC 5-80-5. Definitions., 9 VA ADC 5-80-5


                    regulations, and (iii) codified in Article 9 (9 VAC 5-80-2000 et seq.) of Part II of this chapter. Any permit issued
                    under this program is a major NSR permit.

                    “Nonattainment major new source review (NSR) permit” means a permit issued under the nonattainment major
                    new source review program.

                    “Permit action” means the activities associated with, and preliminary to, a decision of the board to approve,
                    approve with conditions, or disapprove permit applications; actions to amend or modify permit terms or
                    conditions; actions to renew, reopen, invalidate, suspend, revoke or enforce permit terms or conditions. The term
                    “permit action” does not include actions to combine permit terms and conditions, provided there are no changes
                    to any permit term or condition.

                    “Prevention of Significant Deterioration (PSD) program” means a preconstruction review and permit program
                    (i) for new major stationary sources or major modifications (physical changes or changes in the method of
                    operation), (ii) established to implement the requirements of § 165 of the federal Clean Air Act and associated
                    regulations, and (iii) codified in Article 8 (9 VAC 5-80-1605 et seq.) of Part II of this chapter. Any permit issued
                    under this program is a major NSR permit.

                    “Prevention of Significant Deterioration permit” means a permit issued under the Prevention of Significant
                    Deterioration program.

                    “Public comment period” means a time during which the public shall have the opportunity to comment on the
                    permit application information (exclusive of confidential information) for a new stationary source or project,
                    the preliminary review and analysis of the effect of the source upon the ambient air quality, and the preliminary
                    decision of the board regarding the permit application.

                    “Public hearing” means, unless indicated otherwise, an informal proceeding, similar to that provided for in
                    § 2.2-4007 of the Administrative Process Act, held to afford people an opportunity to submit views and data
                    relative to a matter on which a decision of the board is pending.

                    “Public participation process” means any element of a board or department decision-making process that
                    provides an opportunity to submit views and data relative to a matter on which a decision of the board is pending.

                    “State operating permit” means a permit issued under the state operating permit program.

                    “State operating permit program” means an operating permit program (i) for issuing limitations and conditions
                    for stationary sources, (ii) promulgated to meet the EPA's minimum criteria for federal enforceability, including
                    adequate notice and opportunity for the EPA and public comment prior to issuance of the final permit, and
                    practicable enforceability, and (iii) codified in Article 5 (9 VAC 5-80-800 et seq.) of Part II of this chapter.



     Official Virginia Administrative Code, current through 35:23 VA.R July 8, 2019, and fast-track regulations current through
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     9 VAC 5-80-5, 9 VA ADC 5-80-5

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USCA4 Appeal: 19-1152                  Doc: 80          Filed: 08/19/2019            Pg: 66 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




          KeyCite Yellow Flag - Negative Treatment
     Proposed Regulation


       Virginia Administrative Code
         Title 9. Environment (Refs & Annos)
           Vac Agency NO. 5. State Air Pollution Control Board (Refs & Annos)
              Chapter 80. Permits for Stationary Sources (Refs & Annos)
                 Part II. Permit Procedures (Refs & Annos)
                   Article 6. Permits for New and Modified Stationary Sources (Refs & Annos)

                                                            9 VAC 5-80-1110

                                                     9 VAC 5-80-1110. Definitions.

                                                                 Currentness


     A. For the purpose of applying this article in the context of the Regulations for the Control and Abatement of Air Pollution and
     related uses, the words or terms shall have the meanings given them in subsection C of this section.


     B. As used in this article, all terms not defined herein shall have the meanings given them in 9 VAC 5-10 (General Definitions),
     unless otherwise required by context.


     C. Terms defined.

     “Addition” means the construction of a new emissions unit at or the relocation of an existing emissions unit to a stationary
     source.

     “Affected emissions units” means the following emissions units, as applicable:


          1. For a new stationary source, all emissions units.


          2. For a project, the added, modified, and replacement emissions units that are part of the project.

          “Applicable federal requirement” means all of, but not limited to, the following as they apply to affected emissions
          units subject to this article (including requirements that have been promulgated or approved by the administrator through
          rulemaking at the time of permit issuance but have future-effective compliance dates):


                1. Any standard or other requirement provided for in an implementation plan established pursuant to § 110, § 111(d),
                or § 129 of the federal Clean Air Act, including any source-specific provisions such as consent agreements or orders.


                2. Any term or condition in any construction permit issued under the new source review program or in any operating
                permit issued pursuant to the state operating permit program. However, those terms or conditions designated as state-
                only enforceable pursuant to 9 VAC 5-80-1120 F or 9 VAC 5-80-820 G shall not be applicable federal requirements.




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USCA4 Appeal: 19-1152            Doc: 80              Filed: 08/19/2019            Pg: 67 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




              3. Any emission standard, alternative emission standard, alternative emissions limitation, equivalent emissions
              limitation or other requirement established pursuant to § 112 or § 129 of the federal Clean Air Act as amended in 1990.


              4. Any new source performance standard or other requirement established pursuant to § 111 of the federal Clean Air
              Act, and any emission standard or other requirement established pursuant to § 112 of the federal Clean Air Act before
              it was amended in 1990.


              5. Any limitations and conditions or other requirement in a Virginia regulation or program that has been approved
              by EPA under Subpart E of 40 CFR Part 63 for the purposes of implementing and enforcing § 112 of the federal
              Clean Air Act.


              6. Any requirement concerning accident prevention under § 112(r)(7) of the federal Clean Air Act.


              7. Any compliance monitoring requirements established pursuant to either § 504(b) or § 114(a)(3) of the federal Clean
              Air Act.


              8. Any standard or other requirement for consumer and commercial products under § 183(e) of the federal Clean
              Air Act.


              9. Any standard or other requirement for tank vessels under § 183(f) of the federal Clean Air Act.


              10. Any standard or other requirement in 40 CFR Part 55 to control air pollution from outer continental shelf sources.


              11. Any standard or other requirement of the regulations promulgated to protect stratospheric ozone under Title VI
              of the federal Clean Air Act, unless the administrator has determined that such requirements need not be contained
              in a federal operating permit.


              12. With regard to temporary sources subject to 9 VAC 5-80-130, (i) any ambient air quality standard, except
              applicable state requirements, and (ii) requirements regarding increments or visibility as provided in Article 8 (9 VAC
              5-80-1605 et seq.) of this part.


              13. Any standard or other requirement under § 126 (a)(1) and (c) of the federal Clean Air Act.

              “Begin actual construction” means initiation of permanent physical on-site construction of an emissions unit. This
              includes, but is not limited to, installation of building supports and foundations, laying of underground pipework,
              and construction of permanent storage structures. With respect to a change in method of operation, this term refers
              to those on-site activities other than preparatory activities which mark the initiation of the change. With respect to
              the initial location or relocation of a portable emissions unit, this term refers to the delivery of any portion of the
              portable emissions unit to the site.




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USCA4 Appeal: 19-1152             Doc: 80               Filed: 08/19/2019           Pg: 68 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110


              “Clean wood” means uncontaminated natural or untreated wood. Clean wood includes but is not limited to byproducts
              of harvesting activities conducted for forest management or commercial logging, or mill residues consisting of bark,
              chips, edgings, sawdust, shavings, or slabs. It does not include wood that has been treated, adulterated, or chemically
              changed in some way; treated with glues, binders, or resins; or painted, stained, or coated.

              “Commence,” as applied to the construction of an emissions unit, means that the owner has all necessary
              preconstruction approvals or permits and has either:


                   1. Begun, or caused to begin, a continuous program of actual on-site construction of the unit, to be completed
                   within a reasonable time; or


                   2. Entered into binding agreements or contractual obligations, which cannot be canceled or modified without
                   substantial loss to the owner, to undertake a program of actual construction of the unit, to be completed within
                   a reasonable time.

                   “Complete application” means that the application contains all the information necessary for processing the
                   application and that the provisions of § 10.1-1321.1 of the Virginia Air Pollution Control Law have been
                   met. Designating an application complete for purposes of permit processing does not preclude the board from
                   requesting or accepting additional information.

                   “Construction” means fabrication, erection, installation, demolition, relocation, addition, replacement, or
                   modification of an emissions unit that would result in a change in the uncontrolled emission rate.

                   “Construction waste” means solid waste that is produced or generated during construction, remodeling, or
                   repair of pavements, houses, commercial buildings, and other structures. Construction wastes include, but are
                   not limited to, lumber, wire, sheetrock, broken brick, shingles, glass, pipe, concrete, paving materials, and metal
                   and plastics if the metal or plastics are a part of the materials of construction or empty containers for such
                   materials. Paints, coatings, solvents, asbestos, any liquid, compressed gases or semi-liquids, and garbage are not
                   construction wastes.

                   “Debris waste” means wastes resulting from land clearing operations. Debris wastes include, but are not limited
                   to, stumps, wood, brush, leaves, soil, and road spoils.

                   “Demolition waste” means that solid waste that is produced by the destruction of structures or their foundations,
                   or both, and includes the same materials as construction wastes.

                   “Diesel engine” means, for the purposes of 9 VAC 5-80-1105 A 1 b, any internal combustion engine that
                   burns diesel or #2 fuel oil to provide power to processing equipment for a vegetative waste recycling/mulching
                   operation.

                   “Emergency” means a condition that arises from sudden and reasonably unforeseeable events where the primary
                   energy or power source is disrupted or disconnected due to conditions beyond the control of an owner or operator
                   of a facility including:


                        1. A failure of the electrical grid;




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USCA4 Appeal: 19-1152              Doc: 80             Filed: 08/19/2019            Pg: 69 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




                         2. On-site disaster or equipment failure;


                         3. Public service emergencies such as flood, fire, natural disaster, or severe weather conditions; or


                         4. An ISO-declared emergency, where an ISO emergency is:


     a. An abnormal system condition requiring manual or automatic action to maintain system frequency, to prevent loss of firm
     load, equipment damage, or tripping of system elements that could adversely affect the reliability of an electric system or the
     safety of persons or property;


     b. Capacity deficiency or capacity excess conditions;


     c. A fuel shortage requiring departure from normal operating procedures in order to minimize the use of such scarce fuel;


     d. Abnormal natural events or man-made threats that would require conservative operations to posture the system in a more
     reliable state; or


     e. An abnormal event external to the ISO service territory that may require ISO action.

     “Emissions cap” means any limitation on the rate of emissions of any air pollutant from one or more emissions units established
     and identified as an emissions cap in any permit issued pursuant to the new source review program or operating permit program.

     “Emissions limitation” means a requirement established by the board that limits the quantity, rate, or concentration of emissions
     of air pollutants on a continuous basis, including any requirement relating to the operation or maintenance of a source to assure
     continuous emissions reduction, and any design standard, equipment standard, work practice, operational standard, or pollution
     prevention technique.

     “Emissions unit” means any part of a stationary source which emits or would have the potential to emit any regulated air
     pollutant.

     “Enforceable as a practical matter” means that the permit contains emissions limitations that are enforceable by the board or
     the department and meet the following criteria:


     1. Are permanent;


     2. Contain a legal obligation for the owner to adhere to the terms and conditions;


     3. Do not allow a relaxation of a requirement of the implementation plan;


     4. Are technically accurate and quantifiable;



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USCA4 Appeal: 19-1152              Doc: 80               Filed: 08/19/2019            Pg: 70 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




     5. Include averaging times or other provisions that allow at least monthly (or a shorter period if necessary to be consistent
     with the implementation plan) checks on compliance. This may include, but not be limited to, the following: compliance with
     annual limits in a rolling basis, monthly or shorter limits, and other provisions consistent with this article and other regulations
     of the board; and


     6. Require a level of recordkeeping, reporting and monitoring sufficient to demonstrate compliance.

     “Existing stationary source” means any stationary source other than a new stationary source.

     “Federal hazardous air pollutant new source review program” means a program for the preconstruction review and approval
     of the construction, reconstruction, or modification of any stationary source in accordance with regulations specified below and
     promulgated to implement the requirements of § 112 (relating to hazardous air pollutants) of the federal Clean Air Act.


     1. The provisions of 40 CFR 61.05, 40 CFR 61.06, 40 CFR 61.07, 40 CFR 61.08 and 40 CFR 61.15 for issuing approvals of
     the construction of any new source or modification of any existing source subject to the provisions of 40 CFR Part 61.


     2. The provisions of 40 CFR 63.5 for issuing approvals to construct a new source or reconstruct a source subject to the provisions
     of 40 CFR Part 63, except for Subparts B, D and E.


     3. The provisions of 40 CFR 63.50 through 40 CFR 63.56 for issuing Notices of MACT Approval prior to the construction
     of a new emissions unit.

     “Federally enforceable” means all limitations and conditions that are enforceable by the administrator and citizens under the
     federal Clean Air Act or that are enforceable under other statutes administered by the administrator. Federally enforceable
     limitations and conditions include, but are not limited to, the following:


     1. Emission standards, alternative emission standards, alternative emissions limitations, and equivalent emissions limitations
     established pursuant to § 112 of the federal Clean Air Act, as amended in 1990.


     2. New source performance standards established pursuant to § 111 of the federal Clean Air Act, and emission standards
     established pursuant to § 112 of the federal Clean Air Act before it was amended in 1990.


     3. All terms and conditions (unless expressly designated as state-only enforceable) in a federal operating permit, including any
     provisions that limit a source's potential to emit.


     4. Limitations and conditions that are part of an implementation plan established pursuant to § 110, § 111(d) or § 129 of the
     federal Clean Air Act.


     5. Limitations and conditions (unless expressly designated as state-only enforceable) that are part of a federal construction permit
     issued under 40 CFR 52.21 or any construction permit issued under regulations approved by EPA into the implementation plan.




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USCA4 Appeal: 19-1152             Doc: 80              Filed: 08/19/2019            Pg: 71 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




     6. Limitations and conditions (unless expressly designated as state-only enforceable) that are part of a state operating permit
     where the permit and the permit program pursuant to which it was issued meet all of the following criteria:


     a. The operating permit program has been approved by the EPA into the implementation plan under § 110 of the federal Clean
     Air Act.


     b. The operating permit program imposes a legal obligation that operating permit holders adhere to the terms and limitations of
     such permits and provides that permits that do not conform to the operating permit program requirements and the requirements
     of EPA's underlying regulations may be deemed not federally enforceable by EPA.


     c. The operating permit program requires that all emissions limitations, controls, and other requirements imposed by such
     permits will be at least as stringent as any other applicable limitations and requirements contained in the implementation plan
     or enforceable under the implementation plan, and that the program may not issue permits that waive, or make less stringent,
     any limitations or requirements contained in or issued pursuant to the implementation plan, or that are otherwise federally
     enforceable.


     d. The limitations, controls, and requirements in the permit in question are permanent, quantifiable, and otherwise enforceable
     as a practical matter.


     e. The permit in question was issued only after adequate and timely notice and opportunity for comment by the EPA and the
     public.


     7. Limitations and conditions in a regulation of the board or program that has been approved by EPA under Subpart E of 40
     CFR Part 63 for the purposes of implementing and enforcing § 112 of the federal Clean Air Act.


     8. Individual consent agreements that EPA has legal authority to create.

     “Federal operating permit” means a permit issued under the federal operating permit program.

     “Federal operating permit program” means an operating permit system (i) for issuing terms and conditions for major stationary
     sources, (ii) established to implement the requirements of Title V of the federal Clean Air Act and associated regulations, and
     (iii) codified in Article 1 (9 VAC 5-80-50 et seq.), Article 2 (9 VAC 5-80-310 et seq.), Article 3 (9 VAC 5-80-360 et seq.), and
     Article 4 (9 VAC 5-80-710 et seq.) of this part.

     “Fixed capital cost” means the capital needed to provide all the depreciable components.

     “Fugitive emissions” means those emissions that could not reasonably pass through a stack, chimney, vent, or other functionally
     equivalent opening.

     “General permit” means a permit issued under this article that meets the requirements of 9 VAC 5-80-1250.

     “Hazardous air pollutant” means (i) any air pollutant listed in § 112(b) of the federal Clean Air Act, as amended by Subpart C
     of 40 CFR Part 63, and (ii) incorporated by reference into the regulations of the board in subdivision 1 of 9 VAC 5-60-92.



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USCA4 Appeal: 19-1152              Doc: 80               Filed: 08/19/2019            Pg: 72 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




     “Independent system operator” or “ISO” means a person that may receive or has received by transfer pursuant to § 56-576
     of the Code of Virginia any ownership or control of, or any responsibility to operate, all or part of the transmission systems
     in the Commonwealth.

     “Major modification” means any project at a major stationary source that would result in a significant emissions increase in
     any regulated air pollutant. For projects, the emissions increase may take into consideration any state and federally enforceable
     permit conditions that will be placed in a permit resulting from a permit application deemed complete under the provisions
     of 9 VAC 5-80-1160 B.

     “Major new source review (NSR) permit” means a permit issued under the major new source review program.

     “Major new source review (major NSR) program” means a preconstruction review and permit program (i) for new major
     stationary sources or major modifications (physical changes or changes in the method of operation); (ii) established to implement
     the requirements of §§ 112, 165 and 173 of the federal Clean Air Act and associated regulations; and (iii) codified in Article 7
     (9 VAC 5-80-1400 et seq.), Article 8 (9 VAC 5-80-1605 et seq.) and Article 9 (9 VAC 5-80-2000 et seq.) of this part.

     “Major stationary source” means any stationary source that emits, or has the potential to emit, 100 tons or more per year of
     any regulated air pollutant. For new stationary sources, the potential to emit may take into consideration any state and federally
     enforceable permit conditions that will be placed in a permit resulting from a permit application deemed complete under the
     provisions of 9 VAC 5-80-1160 B.

     “Minor new source review (NSR) permit” means a permit issued pursuant to this article.

     “Minor new source review (minor NSR) program” means a preconstruction review and permit program (i) for regulated air
     pollutants from new stationary sources or projects that are not subject to review under the major new source review program; (ii)
     established to implement the requirements of §§ 110(a)(2)(C) and 112 of the federal Clean Air Act and associated regulations;
     and (iii) codified in this article. The minor NSR program may also be used to implement the terms and conditions described in
     9 VAC 5-80-1120 F 1; however, those terms and conditions shall be state-only enforceable and shall not be applicable federal
     requirements.

     “Modification” means any physical change in, or change in the method of operation of an emissions unit that increases the
     uncontrolled emission rate of any regulated air pollutant emitted into the atmosphere by the unit or that results in the emission of
     any regulated air pollutant into the atmosphere not previously emitted. The following shall not be considered physical changes
     or changes in the method of operation under this definition:


     1. Maintenance, repair and replacement of components that the board determines to be routine for a source type and which does
     not fall within the definition of “replacement”;


     2. An increase in the throughput or production rate of a unit (unless previously limited by any state enforceable and federally
     enforceable permit conditions established pursuant to this chapter), if that increase does not exceed the operating design capacity
     of that unit;


     3. An increase in the hours of operation (unless previously limited by any state enforceable and federally enforceable permit
     conditions established pursuant to this chapter);




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USCA4 Appeal: 19-1152              Doc: 80               Filed: 08/19/2019             Pg: 73 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




     4. Use of an alternative fuel or raw material (unless previously limited by any state enforceable and federally enforceable
     permit conditions established pursuant to this chapter) if, prior to the date any provision of the regulations of the board becomes
     applicable to the source type, the emissions unit was designed to accommodate that alternative use. A unit shall be considered to
     be designed to accommodate an alternative fuel or raw material if provisions for that use were included in the final construction
     specifications;


     5. Use of an alternative fuel or raw material that the emissions unit is approved to use under any new source review permit;


     6. The addition, replacement or use of any system or device whose primary function is the reduction of air pollutants, except
     when a system or device that is necessary to comply with applicable air pollution control laws, permit conditions or regulations
     is replaced by a system or device which the board considers to be less efficient in the control of air pollution emissions;


     7. The removal of any system or device whose primary function is the reduction of air pollutants if the system or device is not
     (i) necessary for the source to comply with any applicable air pollution control laws, permit conditions, or regulations or (ii)
     used to avoid any applicable new source review program requirement; or


     8. A change in ownership at a stationary source.

     “Necessary preconstruction approvals or permits” means those permits or approvals required under the NSR program that is
     part of the implementation plan.

     “New source review (NSR) permit” means a permit issued under the new source review program.

     “New source review (NSR) program” means a preconstruction review and permit program (i) for regulated air pollutants from
     new stationary sources or projects (physical changes or changes in the method of operation); (ii) established to implement the
     requirements of §§ 110(a)(2)(C), 112 (relating to permits for hazardous air pollutants), 165 (relating to permits in prevention of
     significant deterioration areas), and 173 (relating to permits in nonattainment areas) of the federal Clean Air Act and associated
     regulations; and (iii) codified in this article, Article 7 (9 VAC 5-80-1400 et seq.), Article 8 (9 VAC 5-80-1605 et seq.) and Article
     9 (9 VAC 5-80-2000 et seq.) of this part. The NSR program may also be used to implement the terms and conditions described
     in 9 VAC 5-80-1120 F 1; however, those terms and conditions shall be state-only enforceable and shall not be applicable federal
     requirements.

     “New stationary source” means any stationary source to be constructed at or relocated to an undeveloped site.

     “Nonroad engine” means any internal combustion engine:


     1. In or on a piece of equipment that is self-propelled or serves a dual purpose by both propelling itself and performing another
     function (such as garden tractors, off-highway mobile cranes and bulldozers);


     2. In or on a piece of equipment that is intended to be propelled while performing its function (such as lawnmowers and string
     trimmers); or




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USCA4 Appeal: 19-1152               Doc: 80                Filed: 08/19/2019             Pg: 74 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




     3. That, by itself or in or on a piece of equipment, is portable or transportable, meaning designed to be capable of being carried
     or moved from one location to another. Indications of transportability include, but are not limited to, wheels, skids, carrying
     handles, dollies, trailers, or platforms.

     An internal combustion engine is not a nonroad engine if (i) the engine is used to propel a motor vehicle or a vehicle used solely
     for competition, or is subject to standards promulgated under § 202 of the federal Clean Air Act; or (ii) the engine otherwise
     included in subdivision 3 of this definition remains or will remain at a location for more than 12 consecutive months or a shorter
     period of time for an engine located at a seasonal source.

     For purposes of this definition, a location is any single site at a building, structure, facility, or installation. Any engine or engines
     that replace an engine at a location and that are intended to perform the same or similar function as the engine replaced will
     be included in calculating the consecutive time period. An engine located at a seasonal source is an engine that remains at a
     seasonal source during the full annual operating period of the seasonal source. A seasonal source is a stationary source that
     remains in a single location on a permanent basis (i.e., at least two years) and that operates at the single location approximately
     three months or more each year. This subdivision does not apply to an engine after the engine is removed from the location.

     “Plantwide applicability limitation (PAL)” means an emissions limitation expressed in tons per year, for a pollutant at a major
     stationary source, that is enforceable as a practical matter and established sourcewide in accordance with 9 VAC 5-80-1865
     or 9 VAC 5-80-2144.

     “PAL permit” means the state operating permit issued by the board that establishes a PAL for a major stationary source.

     “Portable,” in reference to emissions units, means an emissions unit that is designed to have the capability of being moved
     from one location to another for the purpose of operating at multiple locations and storage when idle. Indications of portability
     include, but are not limited to, wheels, skids, carrying handles, dolly, trailer, or platform.

     “Potential to emit” means the maximum capacity of a stationary source to emit a pollutant under its physical and operational
     design. Any physical or operational limitation on the capacity of the source to emit a pollutant, including air pollution control
     equipment, and restrictions on hours of operation or on the type or amount of material combusted, stored, or processed, shall
     be treated as part of its design only if the limitation or its effect on emissions is state and federally enforceable. Secondary
     emissions do not count in determining the potential to emit of a stationary source.

     “Precursor pollutant” means the following:


     1. Volatile organic compounds and nitrogen oxides are precursors to ozone.


     2. Sulfur dioxide is a precursor to PM2.5.


     3. Nitrogen oxides are presumed to be precursors to PM2.5 in all PM2.5, unless the board determines that emissions of nitrogen
     oxides from sources in a specific area are not a significant contributor to that area's ambient PM2.5 concentrations.


     4. Volatile organic compounds and ammonia are presumed not to be precursors to PM2.5, unless the board determines that
     emissions of volatile organic compounds or ammonia from sources in a specific area are a significant contributor to that area's
     ambient PM2.5 concentrations.




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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019            Pg: 75 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110


     “Process operation” means any method, form, action, operation, or treatment of manufacturing or processing, including any
     storage or handling of materials or products before, during, or after manufacturing or processing.

     “Project” means any change at an existing stationary source consisting of the addition, replacement, or modification of one
     or more emissions units.

     “Public comment period” means a time during which the public shall have the opportunity to comment on the permit application
     information (exclusive of confidential information) for a new stationary source or project, the preliminary review and analysis of
     the effect of the source upon the ambient air quality, and the preliminary decision of the board regarding the permit application.

     “Reactivation” means beginning operation of an emissions unit that has been shut down.

     “Reconstruction” means, for the sole purposes of 9 VAC 5-80-1210 A, B, and C, the replacement of an emissions unit or its
     components to such an extent that:


     1. The fixed capital cost of the new components exceeds 50% of the fixed capital cost that would be required to construct a
     comparable entirely new unit;


     2. The replacement significantly extends the life of the emissions unit; and


     3. It is technologically and economically feasible to meet the applicable emission standards prescribed under regulations of
     the board.

     Any determination by the board as to whether a proposed replacement constitutes reconstruction shall be based on:


     1. The fixed capital cost of the replacements in comparison to the fixed capital cost of the construction of a comparable entirely
     new unit;


     2. The estimated life of the unit after the replacements compared to the life of a comparable entirely new unit;


     3. The extent to which the components being replaced cause or contribute to the emissions from the unit; and


     4. Any economic or technical limitations on compliance with applicable standards of performance that are inherent in the
     proposed replacements.

     “Regulated air pollutant” means any of the following:


     1. Nitrogen oxides or any volatile organic compound.


     2. Any pollutant (including any associated precursor pollutant) for which an ambient air quality standard has been promulgated.


     3. Any pollutant subject to any standard promulgated under 40 CFR Part 60.



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USCA4 Appeal: 19-1152                 Doc: 80              Filed: 08/19/2019           Pg: 76 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




     4. Any pollutant subject to a standard promulgated under or other requirements established under 40 CFR Part 61 and any
     pollutant regulated under 40 CFR Part 63.


     5. Any pollutant subject to a regulation adopted by the board.

     “Relocation” means a change in physical location of a stationary source or an emissions unit from one stationary source to
     another stationary source.

     “Replacement” means the substitution of an emissions unit for an emissions unit located at a stationary source, which will
     thereafter perform the same function as the replaced emissions unit.

     “Secondary emissions” means emissions which occur or would occur as a result of the construction or operation of a new
     stationary source or an emissions unit, but do not come from the stationary source itself. For the purpose of this article, secondary
     emissions must be specific, well-defined, and quantifiable; and must affect the same general areas as the stationary source that
     causes the secondary emissions. Secondary emissions include emissions from any off site support facility that would not be
     constructed or increase its emissions except as a result of the construction or operation of the stationary source or emissions
     unit. Secondary emissions do not include any emissions that come directly from a mobile source, such as emissions from the
     tailpipe of a motor vehicle, from a train, or from a vessel.

     “Significant” means:


     1. In reference to an emissions increase, an increase in potential to emit that would equal or exceed any of the following rates:


     a. In ozone nonattainment areas classified as serious or severe in 9 VAC 5-20-204:


                                               Pollutant                                            Emissions Rate

                              Carbon Monoxide                                                   100 tons per year (tpy)

                              Nitrogen Oxides                                                           25 tpy

                              Sulfur Dioxide                                                            40 tpy

                              Particulate Matter (PM)                                                   25 tpy

                              Particulate Matter (PM10)                                                 15 tpy

                              Particulate Matter (PM2.5)                                                10 tpy

                              Volatile organic compounds                                                25 tpy

                              Lead                                                                      0.6 tpy


     b. In all other areas:




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USCA4 Appeal: 19-1152              Doc: 80              Filed: 08/19/2019            Pg: 77 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




                          Pollutant                                                               Emissions Rate

                          Carbon Monoxide                                                     100 tons per year (tpy)

                          Nitrogen Oxides                                                              40 tpy

                          Sulfur Dioxide                                                               40 tpy

                          Particulate Matter (PM)                                                      25 tpy

                          Particulate Matter (PM10)                                                    15 tpy

                          Particulate Matter (PM2.5)                                                   10 tpy

                          Volatile organic compounds                                                   40 tpy

                          Lead                                                                         0.6 tpy


     2. In reference to an emissions increase for a regulated air pollutant not listed in subdivision 1 of this definition, there is no
     emissions rate that shall be considered significant.


     3. If the particulate matter (PM10 or PM2.5) emissions for a stationary source or emissions unit can be determined in a manner
     acceptable to the board and the emissions increase is determined to be significant using the emission rate for particulate matter
     (PM10 or PM2.5), the stationary source or emissions unit shall be considered to be significant for particulate matter (PM). If the
     emissions of particulate matter (PM10 or PM2.5) cannot be determined in a manner acceptable to the board, the emission rate
     for particulate matter (PM) shall be used to determine whether the emissions increase is significant.

     “Significant emissions increase” means, for a regulated air pollutant, an increase in emissions that is significant for that
     pollutant.

     “Site” means one or more contiguous or adjacent properties under the control of the same person (or persons under common
     control).

     “Source category schedule for standards” means the schedule (i) issued pursuant to § 112(e) of the federal Clean Air Act for
     promulgating MACT standards issued pursuant to § 112(d) of the federal Clean Air Act and (ii) incorporated by reference into
     the regulations of the board in subdivision 2 of 9 VAC 5-60-92.

     “Space heater” means any fixed or portable, liquid or gaseous fuel-fired, combustion unit used to heat air in a space, or used to
     heat air entering a space, for the purpose of maintaining an air temperature suitable for comfort, storage, or equipment operation.
     Space heaters do not include combustion units used primarily for the purpose of conditioning or processing raw materials or
     product, such as driers, kilns, or ovens.

     “State enforceable” means all limitations and conditions that are enforceable as a practical matter, including any regulation of
     the board, those requirements developed pursuant to 9 VAC 5-170-160, requirements within any applicable order or variance,
     and any permit requirements established pursuant to this chapter.

     “State operating permit” means a permit issued under the state operating permit program.




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USCA4 Appeal: 19-1152               Doc: 80               Filed: 08/19/2019             Pg: 78 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110


     “State operating permit program” means an operating permit program (i) for issuing limitations and conditions for stationary
     sources; (ii) promulgated to meet the EPA's minimum criteria for federal enforceability, including adequate notice and
     opportunity for the EPA and public comment prior to issuance of the final permit, and practicable enforceability; and (iii)
     codified in Article 5 (9 VAC 5-80-800 et seq.) of this part.

     “Stationary source” means any building, structure, facility or installation that emits or may emit any regulated air pollutant. A
     stationary source shall include all of the pollutant-emitting activities that belong to the same industrial grouping, are located on
     one or more contiguous or adjacent properties, and are under the control of the same person (or persons under common control)
     except the activities of any watercraft or any nonroad engine. Pollutant-emitting activities shall be considered as part of the
     same industrial grouping if they belong to the same “major group” (i.e., that have the same two-digit code) as described in the
     “Standard Industrial Classification Manual” (see 9 VAC 5-20-21).

     “Synthetic minor source” means a stationary source that otherwise has the potential to emit regulated air pollutants in amounts
     that are at or above those for major stationary sources, as applicable, but is subject to restrictions such that its potential to emit
     is less than such amounts for major stationary sources. Such restrictions must be enforceable as a practical matter. The term
     “synthetic minor source” applies independently for each regulated air pollutant that the source has the potential to emit.

     “Temporary facility” means a facility that (i) is operated to achieve a specific objective (such as serving as a pilot test facility, a
     process feasibility project, or a remediation project) and (ii) does not contribute toward the commercial production of any product
     or service (including byproduct and intermediate product) during the operational period. Portable emissions units covered by
     the exemption under 9 VAC 5-80-1105 A 1 c and facilities used to augment or enable routine production are not considered
     temporary facilities for the purposes of this definition.

     “Toxic pollutant” means any air pollutant (i) listed in § 112(b) of the federal Clean Air Act, as amended by Subpart C of 40
     CFR Part 63 and (ii) incorporated by reference into the regulations of the board at subdivision 1 of 9 VAC 5-60-92, or any other
     air pollutant that the board determines, through adoption of regulation, to present a significant risk to public health. This term
     excludes asbestos, fine mineral fibers, radionuclides, and any glycol ether that does not have a TLV®.

     “Uncontrolled emission rate” means the emission rate from an emissions unit when operating at maximum capacity without
     air pollution control equipment. Air pollution control equipment includes control equipment that is not vital to its operation,
     except that its use enables the owner to conform to applicable air pollution control laws and regulations. Annual uncontrolled
     emissions shall be based on the maximum annual rated capacity (based on 8,760 hours of operation per year) of the emissions
     unit, unless the emissions unit or stationary source is subject to state and federally enforceable permit conditions that limit the
     annual hours of operation. Enforceable permit conditions on the type or amount of material combusted, stored, or processed
     may be used in determining the uncontrolled emission rate of an emissions unit or stationary source. The uncontrolled emission
     rate of a stationary source is the sum of the uncontrolled emission rates of the individual emissions units. Secondary emissions
     do not count in determining the uncontrolled emission rate of a stationary source.

     “Undeveloped site” means any site or facility at which no emissions units are located at the time the permit application is
     deemed complete, or at the time the owner begins actual construction, whichever occurs first. An undeveloped site also includes
     any site or facility at which all of the emissions units have been determined to be shut down pursuant to the provisions of 9
     VAC 5-20-220.

     “Vegetative waste” means decomposable materials generated by land clearing activities and includes shrub, bush and tree
     prunings, bark, brush, leaves, limbs, roots, and stumps. Vegetative waste does not include construction or demolition waste or
     any combination of them.

     “Vegetative waste recycling/mulching operation” means any activity related to size reduction or separating, or both, of clean
     wood or vegetative waste, or both, by grinding, shredding, chipping, screening, or any combination of them.



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USCA4 Appeal: 19-1152            Doc: 80              Filed: 08/19/2019              Pg: 79 of 81
     9 VAC 5-80-1110. Definitions., 9 VA ADC 5-80-1110




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USCA4 Appeal: 19-1152    Doc: 80       Filed: 08/19/2019   Pg: 80 of 81




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USCA4 Appeal: 19-1152     Doc: 80         Filed: 08/19/2019    Pg: 81 of 81




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              I hereby certify that on August 16, 2019, I electronically filed the foregoing

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